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                          EXHIBIT 302 – A
Case: 1:17-md-02804-DAP
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     1       IN THE UNITED STATES DISTRICT COURT
     2        FOR THE EASTERN DISTRICT OF OHIO
     3                EASTERN DIVISION
     4                     - - -
     5    IN RE: NATIONAL     : MDL NO. 2804
          PRESCRIPTION OPIATE :
     6    LITIGATION          :
          -----------------------------------------
     7                        : CASE NO.
          THIS DOCUMENT       : 1:17-MD-2804
     8    RELATES TO ALL CASES:
                              : Hon. Dan A.
     9                        : Polster
    10                     - - -
                  Saturday, August 4, 2018
    11                     - - -
    12    HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                   CONFIDENTIALITY REVIEW
    13
                                   -   -   -
    14
                       Videotaped deposition of
    15    DAVID MAY, taken pursuant to notice, was
          held at the law offices of Reed Smith,
    16    LLP, Three Logan Square, 1717 Arch
          Street, Philadelphia, Pennsylvania 19103,
    17    beginning at 9:01 a.m., on the above
          date, before Amanda Dee Maslynsky-Miller,
    18    a Certified Realtime Reporter.
    19                     - - -
    20
    21
    22
                    GOLKOW LITIGATION SERVICES
    23          877.370.3377 ph| 917.591.5672 fax
                        deps@golkow.com
    24

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                                         Page 2                                            Page 4
    1   APPEARANCES:                               1 APPEARANCES: (Continued)
    2                                              2
    3      BARON & BUDD P.C.                       3    PELINI CAMPBELL & WILLIAMS, LLC
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    7      Scluff@baronbudd.com                    8
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   12
                                                  12    Representing the Defendant,
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   14      BY: JOSEPHY J. MAHADY, ESQUIRE         14
           BY: JEFFREY R. MELTON, ESQUIRE               ARNOLD & PORTER KAYE SCHOLER LLP
   15      BY: SHANNON E. MCCLURE, ESQUIRE        15    BY: SAMUEL LONERGAN, ESQUIRE
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   23                                                   Representing the Defendant,
   24                                             24    The Walgreens Company

                                         Page 3                                            Page 5
    1   APPEARANCES: (Continued)                   1   APPEARANCES: (Continued)
    2                                              2
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   20                                             20
   21                                             21
   22                                             22
   23                                             23
   24                                             24

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    2   VIA TELECONFERENCE:                        2            INDEX
    3                                              3            - - -
           MORGAN LEWIS & BOCKIUS, LLP             4
    4      BY: ELLIOT E. BROWN, ESQUIRE                Testimony of: DAVID MAY
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    6      elliott.brown@morganlewis.com           8           - - -
    7      - and -                                 9          EXHIBITS
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    9      Chicago, Illinois 60601
           (312) 324-1000                              NO.      DESCRIPTION            PAGE
                                                  12
   10      Monica.pedroza@morganlewis.com
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   11      Teva Pharmaceuticals, Inc.,            13
                                              Exhibit-1 ABDCMDL 151803-804           13
           Cephalon, Inc., Watson                 14
                                              AmerisourceBergen-May
   12      Laboratories, Actavis LLC, and     Exhibit-2 Masters Pharmaceutical Versus
           Actavis Pharma, Inc             15         DEA Court Opinion,
   13                                                 861.F. 3rd, 206, 2017 from
   14                                      16         The DC Circuit          39
   15      JACKSON KELLY PLLC              17 AmerisourceBergen-May
           BY: SAMANTHA M. D'ANNA, ESQUIRE    Exhibit-3 ABDCMDL 00156582-84           45
   16      500 Lee Street East             18
           Suite 1600                         AmerisourceBergen-May
   17      Charleston, WV 25301            19 Exhibit-4 ABDCMDL 00274105-118           116
           (304) 340-1347                  20 AmerisourceBergen-May
   18      samantha.danna@jacksonkelly.com
           Representing the Defendant,        Exhibit-5 ABDCMDL 00250024-063           153
                                           21
   19      Miami-Luken, Inc.
   20                                         AmerisourceBergen-May
   21                                      22 Exhibit-6 ABDCMDL 00158544            159
   22                                      23 AmerisourceBergen-May
   23                                         Exhibit-7 ABDCMDL 00168453-455           178
   24                                             24

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    1   APPEARANCES: (Continued)                   1           - - -
    2                                              2          EXHIBITS
        VIA TELECONFERENCE:                        3
    3                                                          - - -
                                                   4
    4      ZUCKERMAN SPAEDER LLP                       NO.      DESCRIPTION            PAGE
           BY: VANESSA I. GARCIA, ESQUIRE          5
    5      485 Madison Avenue                          AmerisourceBergen-May
                                                   6   Exhibit-8 ABDCMDL 00158342           196
           10th Floor                              7   AmerisourceBergen-May
    6      New York, New York 10022                    Exhibit-9 ABDCMDL 00216332-33          182
           ( 212) 704-9600                         8
    7      vgarcia@zuckerman.com                       AmerisourceBergen-May
                                                   9   Exhibit-10 ABDCMDL 00159072           248
           Representing the Defendant,            10   AmerisourceBergen-May
    8      CVS Pharmacy                                Exhibit-11 ABDCMDL 00140843-44         268
    9                                             11
   10                                                AmerisourceBergen-May
   11                                             12 Exhibit-12 ABDCMDL 00159415-16           270
      ALSO PRESENT:                               13 AmerisourceBergen-May
      David Lane, Videographer                       Exhibit-13 Tab Printout;
   12 Zac Hone, Trial Technician                  14         Sales Assignment 277
   13                                             15 AmerisourceBergen-May
   14                                                Exhibit-14 ABDCMDL 00002232             285
                                                  16
   15
   16
                                                       AmerisourceBergen-May
                                                  17   Exhibit-15 Tab Printout    314
   17                                             18   AmerisourceBergen-May
   18                                                  Exhibit-16 ABDCMDL 00156364           320
                                                  19
   19
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                                                       AmerisourceBergen-May
                                                  20   Exhibit-17 Tab Printout        322
   21                                             21   AmerisourceBergen-May
   22                                                  Exhibit-18 Tab Printout        322
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   24                                             24

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    1           - - -                                  1           - - -
    2          EXHIBITS                                2        (It is hereby stipulated and
    3           - - -                                  3    agreed by and among counsel that
    4
                                                       4    sealing, filing and certification
        NO.      DESCRIPTION          PAGE             5
    5                                                       are waived; and that all
                                                       6    objections, except as to the form
      AmerisourceBergen-May
    6 Exhibit-19 ABDCMDL 00159841                      7    of the question, will be reserved
                                             325
    7 AmerisourceBergen-May                            8    until the time of trial.)
      Exhibit-20 ABDCMDL 00142341-345           342    9           - - -
    8                                                 10        VIDEO TECHNICIAN: We are
    9                                                 11    now on the record. My name is
   10
                                                      12    David Lane, videographer for
   11
                                                      13    Golkow Litigation Services.
   12
                                                      14    Today's date is August 4th, 2018.
   13
   14                                                 15    Our time is 9:01 a.m.
   15                                                 16        This deposition is taking
   16                                                 17    place in Philadelphia,
   17                                                 18    Pennsylvania, in the matter of
   18                                                 19    National Prescription Opiate
   19
                                                      20    Litigation. Our deponent today is
   20
                                                      21    David May.
   21
                                                      22        Our counsel will be noted on
   22
   23                                                 23    the stenographic record. The
   24                                                 24    court reporter today is Amanda
                                            Page 11                                        Page 13
    1              - - -                               1     Miller and will now swear in our
    2         DEPOSITION SUPPORT INDEX                 2     witness.
    3             - - -                                3             - - -
    4                                                  4         DAVID MAY, after having been
    5 Direction to Witness Not to Answer               5     duly sworn, was examined and
    6 Page Line      Page Line      Page Line          6     testified as follows:
    7 76   7                                           7             - - -
      122 1                                            8
    8 123 21                                                     VIDEO TECHNICIAN: Please
                                                       9     begin.
      220 17
    9                                                 10             - - -
   10                                                 11           EXAMINATION
      Request for Production of Documents
   11                                                 12             - - -
      Page Line Page Line Page Line
   12 None                                            13 BY MR. PIFKO:
   13                                                 14     Q. Good morning, Mr. May.
   14                                                 15     A. Good morning.
   15 Stipulations                                    16     Q. My name is Mark Pifko. I'm
   16 Page Line Page Line      Page Line              17 an attorney for the plaintiffs in this
   17 10   1                                          18 matter. I'm handing you what's marked as
   18
                                                      19 Exhibit Number 1.
   19
                                                      20             - - -
   20 Question Marked                                 21         (Whereupon,
   21 Page Line Page Line      Page Line
   22 None                                            22     AmerisourceBergen-May Exhibit-1,
   23                                                 23     ABDCMDL 151803-804, was marked for
   24                                                 24     identification.)

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    1            - - -                                1     order as suspicious, it's
    2 BY MR. PIFKO:                                   2     permanently rejected and never
    3     Q. This is an e-mail, Bates                 3     shipped.
    4 labeled ABDCMDL 151803 through 804.             4 BY MR. PIFKO:
    5         There's various exchanges;              5     Q. So if you -- it's based on
    6 you're one of the people on the                 6 your understanding of the legal
    7 exchanges. They are dated January 14th,         7 requirements that if you identify an
    8 2016.                                           8 order as suspicious, you cannot ship it,
    9         Please take a minute to                 9 correct?
   10 review that and let me know when you're        10          MR. NICHOLAS: Object to the
   11 done.                                          11     form.
   12     A. Sure. Thank you.                        12          THE WITNESS: It's my
   13     Q. Have you seen this before?              13     understanding of the law and the
   14     A. I have.                                 14     regulation and the expectation of
   15     Q. When was the last time you              15     the regulator.
   16 saw this?                                      16 BY MR. PIFKO:
   17     A. It would have been on the               17     Q. To be clear, that if an
   18 date that is indicated by the e-mail,          18 order is suspicious, you cannot ship it,
   19 which would be, I guess, January 14th,         19 correct?
   20 2016.                                          20     A. Correct.
   21     Q. Do you recall this                      21     Q. Do you know what these
   22 discussion?                                    22 direct shipments are?
   23     A. I recall this exchange, yes.            23     A. I have some knowledge of the
   24     Q. Is this a true and correct              24 direct shipments.

                                           Page 15                                            Page 17
    1 copy of the communications reflected            1          In reading the back -- or,
    2 here?                                           2 actually, the beginning of the e-mail
    3      A. Yes, it is.                             3 chain, there is a refresher on here that
    4      Q. I'd like to direct your                 4 explains what direct ships are.
    5 attention to the first page. About              5       Q. This is a situation where
    6 halfway down the page, there's an e-mail        6 the order goes through
    7 from you. It says, 3:16 p.m. to Sharon          7 AmerisourceBergen's order process but
    8 Hartman.                                        8 it's shipped directly from the
    9          Do you see that part?                  9 manufacturer to the customer, correct?
   10      A. I do.                                  10       A. Actually, my understanding
   11      Q. There's a line you say right           11 of the direct ship is an order is placed
   12 there, If an order is deemed suspicious,       12 by the customer directly to the
   13 it can never be shipped.                       13 manufacturer, AmerisourceBergen has no
   14          Do you see that?                      14 visibility to the placement of that
   15      A. I do.                                  15 order.
   16      Q. Why do you say that?                   16          The order is then shipped
   17          MR. NICHOLAS: Object to the           17 from the manufacturer directly to the
   18      form.                                     18 customer, and we have no visibility of
   19          Go ahead.                             19 that process.
   20          THE WITNESS: Under our                20          What we do have visibility
   21      program and our policy and our            21 into is the financial transaction after
   22      understanding of the regulation,          22 it's completed. And our role in the
   23      and what the regulator expects            23 process is simply billing the
   24      from us, is when we declare an            24 transaction.


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                                                   1    we're talking about the period
                                                   2    from 2015 forward; is that
                                                   3    correct?
                                                   4         MR. PIFKO: I'll get into
                                                   5    some dates. I'm going to ask him.
                                                   6 BY MR. PIFKO:
                                                   7    Q. What is --
                                                   8         MR. NICHOLAS: I know. But
                                                   9    I just want to make sure the
                                                  10    testimony --
                                                  11         MR. PIFKO: The record is it
                                                  12    is. You can't go back, he's
                                                  13    already answered the question.
                                                  14         MR. NICHOLAS: It's unclear
                                                  15    and that's why I'm trying to
                                                  16    clarify.
                                                  17         MR. PIFKO: Well, it is what
                                                  18    it is. We can't fix it
                                                  19    retroactively.
                                                  20         MR. NICHOLAS: Sure we can.
                                                  21         MR. PIFKO: No, we can't.
                                                  22         MR. NICHOLAS: You don't
                                                  23    want to.
                                                  24 BY MR. PIFKO:

                                        Page 23                                                Page 25




                                                  20 BY MR. PIFKO:
                                                  21     Q. You understand that you're
   22        MR. NICHOLAS: Before we go           22 designated to be the company's
   23    on, I just want to make clear for        23 representative to testify about certain
   24    the record that -- or confirm that       24 topics today, correct?


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    1     A. I do.                                        1
    2     Q. And there's a time period
    3 for which you're designated to provide
    4 company testimony, correct?
    5     A. Yes.
    6     Q. And that's 2015 to what?
    7     A. The present.




                                               Page 27                                         Page 29




                                                         11      A. I can't say specifically.
                                                         12      Q. When you joined the company,
                                                         13 you took it upon yourself to familiarize
                                                         14 yourself with certain past practices of
                                                         15 the company?
                                                         16      A. I did.
                                                         17      Q. I'm handing you now what was
                                                         18 marked yesterday as Exhibit Zimmerman-1.
                                                         19         It is a copy of the first
                                                         20 30(b)(6) notice in this case to
                                                         21 AmerisourceBergen. Take a minute to
                                                         22 review that and let me know when you're
                                                         23 ready to discuss it.
                                                         24         I just have a couple of
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     1 simple questions, but take your time.             1      Q. Did you undertake any effort
     2          MR. NICHOLAS: While he's                 2 to familiarize yourself with the topics
     3     looking at the document, just to              3 in O?
     4     clarify the record, Mr. May is                4      A. I have not.
     5     designated as a 30(b)(6) witness              5      Q. But you are prepared to talk
     6     to testify through May 29th of                6 about A through N today, from the time
     7     2018.                                         7 period from January 1st, 2015 to May
     8          THE WITNESS: Okay.                       8 29th, 2018?
     9 BY MR. PIFKO:                                     9      A. I am.
    10     Q. Okay. If you'd go to Page                 10      Q. You were a DEA employee for
    11 6. Tell me when you're there.                    11 some period of time, correct?
    12     A. Yes, I'm there.                           12      A. Yes.
    13     Q. It's got some letters, A,                 13      Q. How long did you work for
    14 and it continues on through the next             14 the DEA?
    15 page, A through O.                               15      A. I started working for DEA
    16     A. Yes.                                      16 while I was in college, so over 30 years.
    17     Q. Have you reviewed these                   17      Q. What -- when did you first
    18 topics?                                          18 start? What was the date when you first
    19     A. I have.                                   19 started working for the DEA?
    20     Q. When was the first time that              20      A. It was approximately June of
    21 you saw these topics?                            21 1982, as a student intern. And I started
    22     A. They were presented to me by              22 my career as an agent in 1985, and was
    23 counsel.                                         23 employed as an agent until I retired in
    24     Q. When was the first time?                  24 2014.

                                              Page 31                                             Page 33
     1     A. Oh, when? Three weeks ago,                 1      Q. When you retired in 2014,
     2 possibly, approximately.                          2 what was the position you held at the
     3     Q. And do you understand that                 3 DEA?
     4 you're designated to speak on all of              4      A. I was the assistant special
     5 these topics from January 1st, 2015 to            5 agent in charge of the Atlanta field
     6 May 29th, 2018?                                   6 division.
     7         MR. NICHOLAS: We covered                  7      Q. Was that the highest
     8     yesterday that that's with the                8 position that you held when you were at
     9     exception of letter O.                        9 the DEA?
    10         THE WITNESS: Yes.                        10      A. I had an equivalent grade
    11 BY MR. PIFKO:                                    11 but with a different title, assistant
    12     Q. With the exception of letter              12 regional director in Europe, Africa and
    13 O, you're not here to testify about that?        13 the Middle East. I also had a temporary
    14         MR. NICHOLAS: Well, we've                14 grade at the same level while assigned to
    15     agreed that he's not here to                 15 DEA headquarters as an acting section
    16     testify about that.                          16 chief of our Europe and Middle Eastern
    17         MR. PIFKO: I'm asking the                17 section.
    18     witness.                                     18      Q. When were you acting section
    19         MR. NICHOLAS: Then I'll                  19 chief?
    20     object to the question.                      20      A. It was during my assignment
    21         THE WITNESS: Well,                       21 to DEA headquarters. So that would have
    22     apparently there's an agreement,             22 been upon my return from Paris. I have
    23     so I won't be talking about O.               23 to sort the years out.
    24 BY MR. PIFKO:                                    24          So '86 to '91, I was
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     1 assigned to the New York field division;     1       specifically say that they will
     2 from '91 to '93, I was assigned to the       2       not approve any specific programs
     3 Marseilles resident office in France;         3      being run by regulators.
     4 from '93 to '96, I was assigned to the        4 BY MR. PIFKO:
     5 Paris country office. From 1996 to 1999,      5      Q. And what do you mean by
     6 I was assigned to DEA headquarters, that      6 that?
     7 was the acting section chief; from 1999       7           MR. NICHOLAS: Object to the
     8 to 2002, I was handed a program, a            8      form.
     9 congressionally funded program, targeting     9           THE WITNESS: In terms of
    10 drug trafficking organizations across the    10      the --
    11 country. That ended in 2002, where I         11           MR. NICHOLAS: And to the
    12 became the head of the drug task force in    12      scope.
    13 the city of Charlotte, North Carolina.       13           Go ahead.
    14 From that, I was assigned Rome, as           14           THE WITNESS: In terms of
    15 assistant regional director. And then        15      the context to your question, I've
    16 finally to Atlanta.                          16      seen written documents by DEA,
    17      Q. And after concluding your            17      including in their guidance
    18 employment with the DEA in 2014, you then    18      letters around the 2006, 2007 time
    19 went to join AmerisourceBergen, correct?     19      frame, where they say that they
    20      A. Correct.                             20      will not approve specific systems
    21      Q. And what was your title when         21      or programs that regulators have
    22 you joined AmerisourceBergen?                22      in place.
    23      A. Senior director of diversion         23           That's my only context for
    24 control.                                     24      that question.
                                          Page 35                                           Page 37
     1      Q. What's your title now?               1  BY MR. PIFKO:
     2      A. Vice president of diversion          2       Q. You said that they won't
     3 control and security.                         3 approve specific systems or programs that
     4      Q. Did you have any positions            4 regulators have in place.
     5 in between those two positions?               5          Do you mean that the
     6      A. I did not.                            6 regulated have in place?
     7      Q. Were your job                         7      A. I do.
     8 responsibilities essentially the same in      8      Q. So what you're saying is the
     9 those two positions?                          9 DEA does not approve the specific system
    10      A. They are slightly different.         10 or program that a company may implement
    11      Q. What are the differences?            11 in connection with regulations that DEA
    12      A. I assumed the security and           12 enforces, correct?
    13 investigations profile in addition to the    13          MR. NICHOLAS: Object to the
    14 diversion control profile within             14      form. Object to the scope.
    15 corporate security and regulatory            15      You're outside of the witness's
    16 affairs.                                     16      time frame here, by a lot.
    17      Q. Based on your experience             17          THE WITNESS: Again, the
    18 with the DEA, does the DEA tell companies    18      only context I can put around this
    19 it regulates whether their practices are     19      is my review of documents from DEA
    20 in compliance with the law?                  20      where -- and I will rely upon what
    21          MR. NICHOLAS: Object to the         21      the document says, in terms of
    22      form. Object to the scope.              22      what my understanding is, that
    23          THE WITNESS: I have seen            23      DEA -- DEA's position around this
    24      statements by DEA where they            24      issue.
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                                                                             Review
                                            Page 38                                           Page 40
     1 BY MR. PIFKO:                                  1  BY MR. PIFKO:
     2     Q. Okay. And what is your                  2       Q. I'm handing you what's
     3 understanding about what DEA's position         3 marked as Exhibit-2.
     4 is?                                             4          MR. PIFKO: He's going to
     5          MR. NICHOLAS: Object to the            5      hand it to you in just a second.
     6     form. Object to the scope. Same             6          For the record, it's a copy
     7     objections.                                 7      of the Masters Pharmaceutical
     8          THE WITNESS: Again, I would            8      versus DEA court opinion, 861 F.3d
     9     rely upon the content of that               9      206, 2017, from the DC circuit.
    10     written guidance specifically that         10 BY MR. PIFKO:
    11     DEA has in those documents that            11      Q. It's got a couple paragraphs
    12     they released; it was either 2006          12 highlighted that we wanted to call your
    13     or 2007. I believe it was                  13 attention to. But take a minute to
    14     actually a 2007 document, where            14 review it.
    15     they make a statement relative to          15          Just, my first question
    16     their not approving specific               16 would just be that, have you seen this
    17     programs of the regulated                  17 opinion before?
    18     community.                                 18          MR. NICHOLAS: Can I just --
    19 BY MR. PIFKO:                                  19      what we're looking at on the
    20     Q. In your experience as a DEA             20      screen is not the same as what's
    21 agent for -- how many years?                   21      in front of him.
    22     A. Approximately 30.                       22          MR. PIFKO: It should be.
    23     Q. -- for 30 years, did you                23          MR. NICHOLAS: It looks like
    24 ever tell a company, or somebody that was      24      a different document.
                                            Page 39                                           Page 41
     1 within your regulatory authority, that         1          MR. PIFKO: Let's go off the
     2 what they were doing was approved?             2      record while we fix this.
     3         MR. NICHOLAS: Object to the             3         VIDEO TECHNICIAN: Going off
     4     form. Object to the scope.                  4     the record. 9:33 a.m.
     5         THE WITNESS: So the                     5             - - -
     6     majority of my career, almost all           6         (Whereupon, a discussion off
     7     of my career, was on the                    7     the record occurred.)
     8     enforcement side of the agency.             8            - - -
     9     And I had little to no interaction          9         VIDEO TECHNICIAN: We're
    10     with the regulated community.              10     back on record. The time is 9:35
    11 BY MR. PIFKO:                                  11     a.m.
    12     Q. You were out there chasing              12 BY MR. PIFKO:
    13 drug dealers?                                  13     Q. Okay, Mr. May, we've
    14     A. I was out there                         14 resolved, and it appears that you have a
    15 investigating drug trafficking                 15 complete copy of the Masters
    16 organizations, yes.                            16 Pharmaceutical decision in front of you.
    17            - - -                               17         Please take a moment to
    18         (Whereupon,                            18 review it and let me know when you're
    19     AmerisourceBergen-May Exhibit-2,           19 done.
    20     Masters Pharmaceutical Versus DEA          20         My first question is just if
    21     Court Opinion, 861 F.3d 206, 2017          21 you've seen this before?
    22     from the DC Circuit, was marked            22     A. Yes, I've seen this before.
    23     for identification.)                       23     Q. When was the first time you
    24           - - -                                24 saw this?


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     1      A. I've seen it recently in                 1 diversion control at the company, you're
     2 preparation for today. And I may have            2 responsible for the company's diversion
     3 seen it at other times during the course         3 control efforts?
     4 of my work, but I don't recall                   4      A. I am.
     5 specifically when that was.                      5      Q. Do you understand that
     6      Q. Okay. I'd like to direct                 6 the -- in discharging your duties, that
     7 you to Page 7, if you use the very bottom        7 the company is bound by the law as set
     8 of the page. There's a paragraph with a          8 forth in this decision?
     9 bracketed 2 there.                               9          MR. NICHOLAS: Object to the
    10          Do you see that paragraph at           10      form.
    11 the bottom on the right?                        11          THE WITNESS: I understand
    12      A. I do.                                   12      in my role and my responsibility
    13      Q. If you go a little bit down             13      is one to meet the requirements of
    14 it says -- there's a sentence that says,        14      The Controlled Substances Act in
    15 The security requirement.                       15      implementing regulations that are
    16          Do you see that part?                  16      relevant to the wholesale
    17      A. I do.                                   17      distributor. And I rely upon
    18      Q. I'm going to read that to               18      those, as opposed to this
    19 you.                                            19      particular case.
    20          The security requirement, in           20 BY MR. PIFKO:
    21 quotes, at the heart of this case               21      Q. But you took it upon
    22 mandates that distributors, quote, design       22 yourself, in connection with your role as
    23 and operate a system to identify                23 the head of the diversion control
    24 suspicious orders of controlled                 24 division of the company, to familiarize

                                             Page 43                                            Page 45
     1 substances and report those orders to DEA        1 yourself with this case when it came out?
     2 (the reporting requirement) 21CFR Section        2         MR. NICHOLAS: Object to the
     3 1301.74(b).                                      3     form.
     4          Do you see that?                        4         THE WITNESS: At one point I
     5      A. I do.                                    5     reviewed this document, and more
     6      Q. Do you understand that                   6     recently I reviewed it again.
     7 AmerisourceBergen is bound by the                7            - - -
     8 reporting requirement?                           8         (Whereupon,
     9          MR. NICHOLAS: Object to the             9     AmerisourceBergen-May Exhibit-3
    10      form.                                      10     ABDCMDL 00156582-84, was marked
    11          THE WITNESS: So I                      11     for identification.)
    12      understand that AmerisourceBergen,         12           - - -
    13      as a wholesale distributor,                13 BY MR. PIFKO:
    14      registered as a wholesale                  14     Q. I'm handing you what has
    15      distributor, is bound by certain           15 been marked as Exhibit-3. Please take a
    16      provisions of The Controlled               16 minute to look at this and let me know
    17      Substances Act, as well as the             17 when you're done.
    18      implementing regulations.                  18         For the record, it's some
    19          And so in terms of any                 19 e-mails, dated August 2nd, 2017. It's
    20      requirements imposed upon us, I            20 Bates labeled ABDCMDL 00156582 through
    21      would refer to the CFR as well as          21 84.
    22      The Controlled Substance Act.              22     A. Okay.
    23 BY MR. PIFKO:                                   23     Q. Are you familiar with this
    24      Q. As the vice president of                24 document?


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     1       A. I am.                                   1       A. I'm familiar with the term.
     2       Q. Is this a true and correct              2  I just don't know precisely what -- the
     3 copy of the discussion reflected in this          3 initials.
     4 document?                                         4      Q. But that's a committee
     5       A. Yes, it is.                              5 that's affiliated with the Healthcare
     6       Q. The first e-mail at the                  6 Distribution Alliance, correct?
     7 bottom is dated July 13th -- sorry, to be         7      A. Yes, yes.
     8 clear, so you know where I'm talking,             8      Q. And you have some
     9 it's on the 156583. It's an e-mail from           9 involvement in interacting with the
    10 you to Ruth Miller and Kristin Freitas,          10 Healthcare Distribution Alliance?
    11 dated July 13, 2017.                             11      A. I do.
    12           Do you see that?                       12      Q. Okay. Going back to this
    13       A. I do.                                   13 e-mail, you say, I have been meaning to
    14       Q. The subject of the -- the               14 reach out to you, as I am concerned with
    15 substance. The e-mail is on the next             15 some of the language and reasoning found
    16 page, but do you see the header on the           16 in the appellate court's recent decision
    17 page I just referenced?                          17 in the Masters case, particularly
    18       A. Yes.                                    18 surrounding suspicious orders.
    19       Q. Looking back to Exhbit-2,               19           Do you see that?
    20 the Masters decision, you see that on the        20      A. I do.
    21 first page it was decided on June 30th,          21      Q. What were your concerns
    22 2017.                                            22 about the appellate court's recent
    23           Do you agree?                          23 decision in the Masters case with respect
    24       A. I'm sorry. You just lost                24 to suspicious orders?

                                              Page 47                                           Page 49
     1   me.                                            1       A. To the best of my
     2      Q. Go back to Exhibit-2, the                2  recollection, without seeing any other
     3 decision.                                         3 documents, other than what's in front of
     4      A. Yes. Thank you.                           4 me here, there was information that was
     5      Q. You see that it was                       5 new information in the appellate court
     6 decided -- on the first page on the left,         6 decision.
     7 it was decided June 30th, 2017. Agreed?           7          There was some terminology
     8      A. I see that. Thank you.                    8 which I had never seen before in any of
     9      Q. And so you write to Ruth                  9 the regulations or in The Controlled
    10 Miller and Christine Freitas or Kristin          10 Substance Act. And that caused me to be
    11 Freitas about two weeks later, agree?            11 concerned that there was this new
    12      A. Yes.                                     12 language that wasn't in the law or
    13      Q. And you say, Ruth, Kristin,              13 regulation. And that was a general
    14 sorry I could not be on the RAC call             14 description of my concern.
    15 today, as I was traveling.                       15      Q. What language was that?
    16          RAC is regulatory affairs               16      A. There was language relative
    17 committee, correct?                              17 to shipping requirement. And I had never
    18      A. I'm not precisely certain                18 seen the term, in all of my work at ABC,
    19 what it stands for.                              19 up until that point in my review of the
    20      Q. That's a committee that you              20 regulation and the law, anything about
    21 serve on?                                        21 shipping requirement.
    22      A. I don't actually serve on                22          So that would be just an
    23 this committee.                                  23 example. There may have been other
    24      Q. It's an had committee?                   24 concerns that I had.


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                                                                             Review
                                            Page 50                                            Page 52
     1      Q. And it was your concern                 1      Q. Did you review these letters
     2 because you had never seen the phrase           2 upon joining AmerisourceBergen?
     3 "shipping requirement"?                         3      A. Yes.
     4          MR. NICHOLAS: Object to the            4      Q. And that was part of your
     5      form. Asked and answered.                  5 effort to familiarize yourself with
     6          THE WITNESS: My concern was            6 activity governing the diversion control
     7      that I had never seen the term             7 department for which you were
     8      "shipping requirement" in the              8 responsible?
     9      applicable regulations or the law.         9           MR. NICHOLAS: Object to the
    10      And that its first appearance that        10      form.
    11      I recall seeing was in the                11           THE WITNESS: Yes.
    12      decision.                                 12 BY MR. PIFKO:
    13 BY MR. PIFKO:                                  13      Q. So there's four letters in
    14      Q. I'm going to hand you                  14 this packet. I want to turn your
    15 another document that was marked               15 attention to the earliest of these
    16 yesterday Exhibit-6.                           16 letters, dated September 27th, 2006.
    17          For the record, it's a                17           For the record, that letter
    18 series of letters from the Department of       18 covers ABDCMDL 00269691 through 694.
    19 Justice, DEA administration, which we          19           Tell me when you're there.
    20 call the Dear Registrant letters.              20      A. I'm there, yes.
    21          Take a minute to review               21      Q. Are you familiar with this
    22 those.                                         22 letter?
    23          MR. NICHOLAS: While he's              23      A. Yes.
    24      reviewing them, just so the record        24      Q. Let's turn to the second
                                            Page 51                                            Page 53
     1      is clear, since you're about to            1 page of this letter.
     2      ask him about documents that               2          About two-thirds of the way
     3      precede the period for which he is         3 down it says, Thus, in addition to
     4      designated to testify as a                 4 reporting all suspicious orders, a
     5      30(b)(6) witness, he is now                5 distributor has a statutory
     6      testifying in his individual               6 responsibility to exercise due diligence
     7      capacity.                                  7 to avoid filling suspicious orders that
     8          MR. PIFKO: We have to make             8 might be diverted into other than
     9      that judgment based on the                 9 legitimate medical, scientific and
    10      question. But your position is            10 industrial channels.
    11      noted.                                    11          Do you see that?
    12 BY MR. PIFKO:                                  12      A. I do.
    13      Q. Are you familiar with these            13      Q. Failure to exercise such due
    14 letters?                                       14 diligence could, as circumstances
    15      A. I am.                                  15 warrant, provide a statutory basis for
    16      Q. If I call them the Dear                16 revocation or suspension of a
    17 Registrant letters, is that a term that        17 distributor's registration.
    18 you're familiar with?                          18          Do you see that?
    19      A. Yes.                                   19          MR. NICHOLAS: Is that a
    20      Q. Okay. When was the first               20      question?
    21 time that you've seen these letters?           21          THE WITNESS: I do see it,
    22      A. I'm not precisely sure I               22      yes.
    23 could provide you a date. It's been some       23 BY MR. PIFKO:
    24 time.                                          24      Q. Do you have an understanding
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                                                                             Review
                                             Page 54                                            Page 56
     1 that that is saying, if you identify an          1      AmerisourceBergen.
     2 order as suspicious, you should not ship         2 BY MR. PIFKO:
     3 it?                                              3      Q. And I just want to know if,
     4          MR. NICHOLAS: Object to the             4 when you see this language, you
     5      form. In addition to which the              5 understand that that's what this language
     6      witness is being asked about a              6 is saying? It's saying, if you identify
     7      topic for which he has not been             7 an order as suspicious, do not ship it.
     8      designated as a 30(b)(6) deponent.          8           MR. NICHOLAS: Object to the
     9          So I'll permit him to                   9      form. Same objection. Third time
    10      answer, but he's only answering in         10      you've asked him.
    11      his individual capacity.                   11           THE WITNESS: The law and
    12          THE WITNESS: Could you                 12      the regulation requires us to
    13      repeat your question?                      13      reject or report suspicious
    14 BY MR. PIFKO:                                   14      orders. They are, thereby, not
    15      Q. The sentence I just read --             15      shipped.
    16      A. Yes.                                    16           If this says the same thing,
    17      Q. -- my question is, do you               17      that -- and it agrees with the law
    18 understand this to be saying that if you        18      and the regulation, then I would
    19 identify an order as suspicious, you            19      let the document stand on its own.
    20 cannot ship it?                                 20 BY MR. PIFKO:
    21          MR. NICHOLAS: Same                     21      Q. That's your understanding of
    22      objection.                                 22 the document?
    23          THE WITNESS: So in current             23           MR. NICHOLAS: Object to the
    24      state, under our program, if we            24      form. He's answered the question
                                             Page 55                                            Page 57
     1     identify an order as suspicious,             1       four times.
     2     we don't ship. It's rejected,                2           MR. PIFKO: It's been asked.
     3     it's not shipped and it's reported           3       It hasn't been answered.
     4     to DEA.                                      4           MR. NICHOLAS: No, it has
     5 BY MR. PIFKO:                                    5       been answered.
     6     Q. Okay. I didn't ask you                    6 BY MR. PIFKO:
     7 about what your program was. I'm asking          7       Q. I'm just trying to get --
     8 you about this letter right now.                 8 sir, I'm just trying to get your
     9          And my question is, do you              9 understanding of the document. I
    10 understand this language here to be             10 appreciate your explanation of the law.
    11 saying that if an order is deemed to be         11           I'm just trying to get --
    12 suspicious, it cannot be shipped?               12 when you read this sentence, do you agree
    13          MR. NICHOLAS: Same                     13 that that's what it says? That's all I'm
    14     objection.                                  14 asking you.
    15          THE WITNESS: And, again, I             15           MR. NICHOLAS: Object to the
    16     view these letters not as I view            16       form. Object to the repeated
    17     the law and the regulation. It's            17       question, since he's answered it.
    18     additional information that's               18           THE WITNESS: And, again, my
    19     provided by DEA.                            19       response would be the same.
    20          My understanding of the law            20           That I rely on the
    21     and regulation says that if we              21       regulation and the law in terms of
    22     identify an order as suspicious,            22       how we carry out our
    23     we should reject it and report it.          23       responsibility relative to
    24     That's what we do at                        24       suspicious orders. And at
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     1     AmerisourceBergen, when we                   1  what this means?
     2     identify a suspicious order, it's            2          MR. NICHOLAS: Object to the
     3     rejected and reported to DEA.                 3     form.
     4 BY MR. PIFKO:                                     4         THE WITNESS: Again, in
     5     Q. When you read this                         5     terms of suspicious orders, my
     6 sentence -- can you read this sentence to         6     understanding of the law and
     7 me out loud, please?                              7     regulation requires us to reject
     8     A. Sure.                                      8     them, cancel them, and report them
     9     Q. I mean, that paragraph.                    9     to DEA.
    10     A. Sure.                                     10 BY MR. PIFKO:
    11          MR. NICHOLAS: Can I have                11     Q. And that's what this is
    12     the question repeated, please?               12 saying here, correct?
    13     I'm sorry.                                   13         MR. NICHOLAS: Object to the
    14          MR. PIFKO: I just asked him             14     form. The witness has answered
    15     to read the paragraph aloud.                 15     this a number of times. Now
    16          MR. NICHOLAS: Okay. You                 16     you're just trying to put words in
    17     want him to read it out loud.                17     his mouth. So I'll object.
    18          Go ahead.                               18         THE WITNESS: Again, I rely
    19          THE WITNESS: Thus, in                   19     on the law and the regulation
    20     addition to reporting all                    20     relative to suspicious orders.
    21     suspicious orders, a distributor             21         MR. PIFKO: The record will
    22     has a statutory responsibility to            22     reflect that the witness is
    23     exercise due diligence to avoid              23     unwilling to answer my question.
    24     filling suspicious orders that               24         MR. NICHOLAS: Let the
                                              Page 59                                           Page 61
     1    might be diverted into other than             1       record reflect that the witness
     2    legitimate, medical, scientific               2       has answered the question. And
     3    and industrial channels. Failure               3      the commentary about it is totally
     4    to exercise such due diligence                 4      inappropriate.
     5    could, as circumstances warrant,               5 BY MR. PIFKO:
     6    provide a statutory basis for                  6      Q. Staying on this document, I
     7    revocation or suspension of a                  7 want to direct your attention to the
     8    distributor's registration.                    8 letter dated December 27th, 2007. That's
     9 BY MR. PIFKO:                                     9 ABDCMDL 00269685.
    10    Q. What does that mean to you?                10          Are you there?
    11        MR. NICHOLAS: Object to the               11      A. Yes.
    12    form. Asked and answered five                 12      Q. Second paragraph, at the
    13    times. Outside the scope.                     13 bottom, it says, Accordingly, DEA does
    14        THE WITNESS: Again, I                     14 not approve or otherwise endorse any
    15    don't -- I don't think I'm the                15 specific system for reporting suspicious
    16    right person to try to interpret              16 orders. Past communications with DEA,
    17    what the meaning is of this                   17 whether implicit or explicit, that could
    18    sentence that was written by                  18 be construed as approval of a particular
    19    somebody else.                                19 system for reporting suspicious orders
    20        And I would rely upon my                  20 should no longer be taken to mean that
    21    previous answer relative to                   21 DEA approves a specific system.
    22    suspicious orders.                            22          Do you see that?
    23 BY MR. PIFKO:                                    23      A. I do.
    24    Q. You're unable to tell me                   24      Q. When I asked you earlier
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     1 about DEA approving conduct by regulated      1  BY MR. PIFKO:
     2 entities, is that what you were referring     2      Q. But you understood it,
     3 to?                                            3 correct?
     4      A. Yes.                                   4          MR. NICHOLAS: Object to the
     5      Q. And that's consistent with             5     form.
     6 your understanding of the DEA's policy?        6          THE WITNESS: I read all of
     7           MR. NICHOLAS: Object to the          7     the documents.
     8      form. Outside the scope. He's             8 BY MR. PIFKO:
     9      testifying as an individual.              9     Q. Did you understand them?
    10           THE WITNESS: Relative to it         10          MR. NICHOLAS: Object to the
    11      being consistent with DEA policy,        11     form.
    12      I would have to say that I'm not         12          THE WITNESS: I'm not sure I
    13      familiar with DEA's specific             13     understand your question.
    14      written policy around this issue.        14          Did I understand the written
    15           And I -- my context of my           15     documents?
    16      response was strictly relative to        16 BY MR. PIFKO:
    17      this particular statement.               17     Q. Yes.
    18 BY MR. PIFKO:                                 18     A. To the extent that I can
    19      Q. When you joined                       19 read the documents, yes, I can read the
    20 AmerisourceBergen and reviewed these          20 documents.
    21 letters to familiarize yourself with          21     Q. And you understood them when
    22 them, did you understand this to be DEA's     22 you read them?
    23 position concerning the activities of         23          MR. NICHOLAS: Object to the
    24 preventing diversion?                         24     form.
                                           Page 63                                          Page 65
     1          MR. NICHOLAS: Object to the          1           THE WITNESS: I believe I
     2      form. Outside the scope.                 2       can read the documents, yes.
     3          THE WITNESS: I'm not sure I           3 BY MR. PIFKO:
     4      understand your question. If you          4      Q. And when you read them, you
     5      wouldn't mind repeating it, thank         5 can understand them?
     6      you.                                      6      A. I have a reading
     7 BY MR. PIFKO:                                  7 compensation, I guess.
     8      Q. I'm just asking, basically,            8          MR. NICHOLAS: Hold on.
     9 when you came into the company in 2014 --      9      Object to the form.
    10 and you reviewed these letters, correct?      10 BY MR. PIFKO:
    11      A. Yes.                                  11      Q. You read them and understand
    12      Q. Okay. And you saw this,               12 them, correct? That's all I'm trying to
    13 this provision, right?                        13 get -- you're saying "I read them." But
    14      A. Yes.                                  14 I just want to be clear that -- reading
    15      Q. And you understood, when you          15 and understanding are different things.
    16 joined the company, that this was the         16          So when you read them, you
    17 DEA's position, correct?                      17 understood what you read?
    18          MR. NICHOLAS: Object to the          18          MR. NICHOLAS: Object to the
    19      form.                                    19      form.
    20          THE WITNESS: Again, I                20          THE WITNESS: So when I read
    21      familiarized myself with all of          21      a document, for reading
    22      these documents, including this          22      comprehension, I understand the
    23      one statement. And I would let           23      document. I guess that's why I
    24      the statement speak for itself.          24      was a little confused.
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     1 BY MR. PIFKO:                                    1      Q. What specifically did you
     2      Q. No problem. It's part of                 2 want to address with the DEA?
     3 the deposition process that we have to be        3          MR. NICHOLAS: Objection.
     4 clear about our words sometimes.                 4      Asked and answered several times
     5      A. Sure. I appreciate it.                   5      now.
     6      Q. So you had reading                       6          THE WITNESS: Again, it was
     7 comprehension with respect to these              7      the shipping requirement
     8 documents? I just want to confirm that.          8      statement, to my recollection at
     9      A. Correct. Yes. Thank you.                 9      this point, that was what I was
    10      Q. Okay. Let's go back to                  10      concerned with. There may have
    11 Exhibit-3. I want to go to Page 156584.         11      been other things that, looking at
    12          Tell me when you're there.             12      the -- just at this e-mail that --
    13      A. I am there.                             13      that I could have had a concern
    14      Q. You say, I have had                     14      with.
    15 discussions at my company and we think it       15          But at this time, looking at
    16 would be a good idea to have a meeting          16      this, that was my major concern.
    17 with DEA to raise our concerns and get          17 BY MR. PIFKO:
    18 further clarification from them,                18      Q. So we have the opinion in
    19 particularly as it relates to reporting         19 front of you, Exhibit-2.
    20 suspicious orders.                              20          Can you direct me to the
    21          Do you see that?                       21 portion of the opinion that you're saying
    22      A. I do.                                   22 that you were concerned about?
    23      Q. What did you mean by that?              23          MR. NICHOLAS: Well --
    24      A. Again, to the best of my                24 BY MR. PIFKO:

                                             Page 67                                             Page 69
     1 recollection, and seeing no other                1     Q.    Take your time.
     2 documents, other than this particular            2          MR. NICHOLAS: -- I'll
     3 e-mail chain -- and I would refer back to        3      object to the form. But now he's
     4 my prior response on a similar question,         4      going to have to read the entire
     5 and that is, I was seeing language in the        5      opinion while we sit here.
     6 decision that I had not seen before in           6          Is that what you want him to
     7 the regulation and the law.                      7      do?
     8          And that's -- without being             8 BY MR. PIFKO:
     9 more specific than that, that was what           9      Q. Are you able to direct me to
    10 my -- what I recall to be my general            10 the portion of the opinion that you were
    11 concern at that time.                           11 concerned about?
    12      Q. What did you want to get                12      A. I can flip through the
    13 clarification from the DEA about?               13 document and try to find it, or I can
    14          MR. NICHOLAS: Objection.               14 read the whole document. I'm happy to
    15      Asked and answered. Object to the          15 flip through it to try to find the
    16      form.                                      16 reference to shipping requirement.
    17          THE WITNESS: Again, just to            17      Q. Well --
    18      repeat myself, where I saw that            18      A. If I don't find it by
    19      there were new language or                 19 flipping through it, I'll have to read
    20      different language than the                20 the whole document.
    21      regulation or the laws, I thought          21      Q. We had attempted to give you
    22      that having a meeting with DEA, we         22 a highlighted version, but let's go back
    23      could address those issues.                23 to Page 7.
    24 BY MR. PIFKO:                                   24      A. I am on Page 7.
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     1      Q. Okay. There's a section                 1     order somehow differently. And
     2 there, The reporting requirement.               2     that would be -- that was part of
     3          Do you see that? We read               3     my concern.
     4 that?                                           4 BY MR. PIFKO:
     5      A. In Paragraph 2?                         5     Q. And in what way do you mean
     6      Q. Yes. On the bottom there.               6 you could "treat it differently"?
     7      A. Yes.                                    7          MR. NICHOLAS: Object to the
     8      Q. Okay. If you turn to the                8     form.
     9 next page, continuing through that              9          THE WITNESS: It suggests
    10 paragraph, it says, Once a distributor         10     that you can determine an order
    11 has reported a suspicious order, it must       11     suspicious, I guess, and then
    12 make one of two choices: Decline to ship       12     determine it's not suspicious and
    13 the order, or conduct some due diligence.      13     ship it.
    14 And if it is able to determine that the        14          And, again, that's a
    15 order is not likely to be diverted into        15     contradiction to what my
    16 illegal channels, ship the order (the          16     understanding of what the
    17 shipping requirement).                         17     regulation and the law requires.
    18          Do you see that?                      18 BY MR. PIFKO:
    19      A. Yes, I do.                             19     Q. Because it's your
    20      Q. Is this what you were                  20 understanding that once an order is
    21 talking about?                                 21 suspicious, it cannot be shipped,
    22          MR. NICHOLAS: Object to the           22 correct?
    23      form.                                     23          MR. NICHOLAS: Object to the
    24          Go ahead.                             24     form.
                                            Page 71                                            Page 73
     1          THE WITNESS: It is.                    1         THE WITNESS: Under ABC's
     2 BY MR. PIFKO:                                   2     program, which is designed to meet
     3     Q. What, specifically, was your             3     the requirements of the law and
     4 concern with this language?                     4     the regulation, once we identify
     5          MR. NICHOLAS: Object to the            5     an order as suspicious, it's
     6     form. Asked and answered.                   6     rejected and reported as
     7          THE WITNESS: It's                      7     suspicious.
     8     contradictory. And it's                     8 BY MR. PIFKO:
     9     contradictory to my understanding           9     Q. Let's go back to -- just to
    10     of what the regulation, the                10 be clear, does that summarize your
    11     regulations require.                       11 concerns that we were just talking about
    12          As I stated, when                     12 when we were looking at the e-mail?
    13     AmerisourceBergen determines,              13         MR. NICHOLAS: Object to the
    14     after reviewing an order, that             14     form. It mischaracterizes the
    15     it's suspicious, it's forever              15     testimony as well.
    16     rejected and it's reported to DEA.         16         THE WITNESS: Again, in the
    17          So under our program, there           17     context of this one e-mail, with
    18     is no other choice. If that order          18     no other context and based upon my
    19     is deemed suspicious, then it's            19     recollection of the e-mail events,
    20     reported to the DEA and it's               20     that's one of the concerns.
    21     rejected.                                  21         There may have been others
    22          And, here, that -- there              22     that I'm not recalling at this
    23     seems to offer another alternative         23     time.
    24     where you can treat a suspicious           24 BY MR. PIFKO:


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     1      Q. Understood. Going back to                1   meaning communications that
     2 the e-mail, Exhibit-3, you say, I have           2   included attorneys or
     3 not yet approached my colleagues at              3   communications that were -- and,
     4 Cardinal or McKesson yet, but I am               4   additionally, that may have been
     5 confident we all share similar concerns.         5   communications that may have been
     6          Do you see that?                        6   court sanctioned or court ordered.
     7      A. I'll try to get to that. Is              7       So I will instruct you not
     8 that on the first --                             8   to answer to the extent -- to the
     9      Q. It's on the last page.                   9   extent there were attorneys
    10      A. Last page. Okay, yes. I                 10   involved, attorney communications
    11 see that.                                       11   involved.
    12      Q. Did you discuss this issue              12       MS. KVESELIS: Objection to
    13 with people at Cardinal and McKesson?           13   form.
    14          MS. KVESELIS: Objection.               14       MR. PIFKO: You can only
    15          THE WITNESS: In the context            15   have one objection for you guys,
    16      of this MDL, I've been provided            16   so you're going to have to pick
    17      the opportunity to meet with my            17   who is making the objections.
    18      colleagues at Cardinal and                 18       MR. NICHOLAS: It's mine.
    19      McKesson where we discussed                19       MR. PIFKO: Okay.
    20      general topics related to                  20       MS. KVESELIS: You can
    21      diversion control.                         21   object on privilege grounds and
    22 BY MR. PIFKO:                                   22   I'm objecting on form.
    23      Q. Well, let's back up. I'm                23       MR. PIFKO: You can't. You
    24 just talking about the time period of --        24   can't. Only one -- the protocol
                                             Page 75                                            Page 77
     1 specifically of this e-mail, not as a            1   is clear, only one objection
     2 general matter.                                  2   stands. Tell me which of your --
     3          So my question is, you wrote            3   which objection stands.
     4 them -- you wrote this e-mail in July            4        MR. NICHOLAS: Well, she's
     5 13th, 2017 and you talk about approaching        5   counsel for another party.
     6 colleagues at those two companies. And           6        MR. PIFKO: It doesn't
     7 my question is more specific than that,          7   matter. The protocol is specific,
     8 in that on or around that time did you           8   it says only one objection. Pick
     9 specifically reach out to anyone at              9   one.
    10 Cardinal or McKesson to discuss the             10        MR. DAVISON: That's not
    11 Masters decision?                               11   correct.
    12      A. Not --                                  12        MR. NICHOLAS: I didn't
    13          MS. KVESELIS: Objection.               13   think that's what the protocol
    14          THE WITNESS: Not to my                 14   said. That's why I'm asking. We
    15      recollection, no.                          15   can look it up, though.
    16 BY MR. PIFKO:                                   16        MR. PIFKO: This isn't a big
    17      Q. At some point later did you             17   deal. Next time we take a break,
    18 reach out to people at Cardinal and             18   we'll get it clarified.
    19 McKesson to discuss this?                       19        MR. NICHOLAS: Well, if
    20          MR. NICHOLAS: I'm going to             20   you'd like, if it will make
    21      interpose, not just an objection           21   everyone feel better, I will add
    22      but an instruction not to respond          22   an objection to the form to my
    23      to this, to the extent it involves         23   objection.
    24      the attorney-client privilege,             24        MR. PIFKO: Done.
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     1          MR. NICHOLAS: And scope.              1       A. Yes, I agree.
     2 BY MR. PIFKO:                                  2       Q. Is there someone at McKesson
     3      Q. Now that we've had all of               3 that you typically would -- your main
     4 this discussion, let's get back to the          4 contact you would reach out to, if you
     5 question. And I'll ask it in a different        5 were going to call them?
     6 way so we can get clarity.                      6          MR. NICHOLAS: Object to the
     7          My question was, aside from            7      form.
     8 communications where counsel was present,       8          THE WITNESS: Again, I don't
     9 did you reach out to McKesson or Cardinal       9      have any recollection of reaching
    10 to discuss the Masters decision?               10      out. So I haven't -- I have --
    11          MS. KVESELIS: Objection to            11      don't know who that would have
    12      form.                                     12      been a reference to, if, in fact,
    13          THE WITNESS: I did not                13      I reached out.
    14      reach out, to the best of my              14 BY MR. PIFKO:
    15      recollection, to Cardinal or              15      Q. Do you interact with
    16      McKesson. In fact, this meeting           16 McKesson in connection with the had?
    17      with DEA that was anticipated and         17          MS. KVESELIS: Objection to
    18      discussed never took place.               18      form.
    19 BY MR. PIFKO:                                  19          THE WITNESS: There are
    20      Q. Let's go to the first page             20      phone calls with the had that the
    21 of the e-mail, 156582.                         21      distributors participate in,
    22          Are you there?                        22      including myself. And there are
    23      A. I am.                                  23      other representatives from other
    24      Q. You say, I have reached out            24      wholesalers, including McKesson
                                            Page 79                                          Page 81
     1 to McKesson and will do the same with          1      and Cardinal.
     2 Cardinal and will get back to you when I       2  BY MR. PIFKO:
     3 have their responses.                           3     Q. Do you know any of the other
     4          Do you see that? Sorry, on             4 representatives from McKesson and
     5 the top of the e-mail.                          5 Cardinal who participate?
     6      A. Yes, I'm just trying to read            6         MS. KVESELIS: Objection to
     7 that specific e-mail.                           7     form.
     8          Okay. I see that.                      8         THE WITNESS: I do know some
     9      Q. It says, I have reached out             9     individuals who I've met at
    10 to McKesson -- we just read that, okay?        10     McKesson, but don't know
    11      A. Yes.                                   11     specifically who was on those
    12      Q. Who did you reach out to at            12     phone calls. And it changes from
    13 McKesson?                                      13     time to time.
    14          MS. KVESELIS: Objection to            14 BY MR. PIFKO:
    15      form.                                     15     Q. Who have you met from
    16          THE WITNESS: And, again, I            16 McKesson?
    17      don't have a recollection of              17         MS. KVESELIS: Objection to
    18      specifically reaching out to              18     form.
    19      McKesson to set up any meeting.           19         THE WITNESS: A couple of
    20      And no meeting ever took place.           20     individuals. Gary Boggs being one
    21 BY MR. PIFKO:                                  21     of them.
    22      Q. Understood. But you say                22 BY MR. PIFKO:
    23 here that you reached out to McKesson,         23     Q. He's another DEA agent,
    24 agree?                                         24 correct? Former DEA agent?


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     1      A. He is.                                  1 BY MR. PIFKO:
     2      Q. Do you know him from working            2      Q. You mention Demetra Ashley
     3 at the DEA?                                     3 here.
     4      A. Never met him before until              4         Do you see that?
     5 we both were working at these companies.        5      A. I do.
     6      Q. Anyone else from McKesson               6      Q. Who is she?
     7 that you've met?                                7      A. She was, at that time, I
     8          MS. KVESELIS: Objection to             8 believe, working as the acting deputy
     9      form.                                      9 administrator for diversion control.
    10          THE WITNESS: During the               10      Q. Can you read the first
    11      course of the last four and-a-half        11 sentence of that first paragraph in your
    12      years at the various had meetings,        12 3:11 p.m. e-mail aloud, please?
    13      I'm sure I've met other Cardinal,         13      A. So where it starts, I know
    14      McKesson representatives.                 14 Demetra?
    15          But I couldn't list all               15      Q. Exactly, yes.
    16      their names, no.                          16      A. I know Demetra and, quite
    17 BY MR. PIFKO:                                  17 frankly, I would prefer to wait until
    18      Q. Can you identify any                   18 Administrator Rosenberg names a
    19 Cardinal representatives that you've met?      19 replacement for Millione to have the
    20      A. I would respond the same               20 meeting.
    21 way. I've met several over time and at         21      Q. What did you mean by that?
    22 different meetings. I don't have all           22      A. Having someone in an acting
    23 their names off the top of my head.            23 capacity at DEA, they don't always have
    24      Q. Okay. You say in the same              24 the authority of the position itself.

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     1 portion of the e-mail, I don't want to          1 And I felt that it would be more
     2 wait too long to make the specific              2 appropriate to talk to a
     3 request (and want it on the record, in          3 permanent-position employee that was
     4 quotes, that we are seeking clarification       4 occupying that particular position as
     5 in this area).                                  5 opposed to somebody that maybe didn't
     6          Do you see that?                       6 carry the full weight of the office.
     7      A. I do.                                   7         MR. PIFKO: With that, we
     8      Q. Why did you want it on the              8     can take a break.
     9 record that you were seeking                    9         VIDEO TECHNICIAN: Going off
    10 clarification in this area?                    10     the record. 10:19 a.m.
    11      A. I thought the subject was              11             - - -
    12 important enough to be raised with the         12         (Whereupon, a brief recess
    13 DEA. And so having it as documentation         13     was taken.)
    14 because of its importance, I thought,          14            - - -
    15 would be important.                            15         VIDEO TECHNICIAN: We're
    16      Q. You wanted it documented               16     back on the record. The time is
    17 because you wanted it clear that the           17     10:40 a.m.
    18 company was reaching out to seek               18 BY MR. PIFKO:
    19 clarification?                                 19     Q. We didn't discuss this
    20          MR. NICHOLAS: Object to the           20 before we started, but under the rules of
    21      form.                                     21 law governing this case, you are not
    22          THE WITNESS: I wanted it to           22 permitted to discuss the substance of
    23      be documented because I thought it        23 your deposition during breaks.
    24      was an important matter.                  24         During the last break, did
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     1 you discuss the substance of your              1       A. There are a couple different
     2 deposition with counsel?                       2  types of diversion.
     3      A. No.                                     3          We're not talking about
     4      Q. And we have an agreement                4 contract diversion here, we're talking
     5 that you're not going to be doing that          5 about diversion of controlled substances?
     6 going forward either?                           6      Q. Correct.
     7      A. Yes.                                    7      A. Really, in a very general
     8      Q. Do you have an understanding            8 description, I would say that diversion
     9 of the purpose --                               9 takes place any time the legitimate
    10          MR. NICHOLAS: Somebody is             10 intended -- the legitimate intended
    11      not on mute on the phone, if you          11 prescribing and use of a controlled
    12      guys could just mute your phone.          12 substance is not met, that somehow the
    13      Thanks.                                   13 controlled substance is not used for the
    14 BY MR. PIFKO:                                  14 legitimate medical purposes for what it
    15      Q. Let me restart that.                   15 is intended, in a very general way.
    16          You understand that                   16      Q. Do you understand the
    17 AmerisourceBergen is a registrant under        17 concept, under The Controlled Substances
    18 The Controlled Substances Act, correct?        18 Act, of the closed system of
    19      A. Yes.                                   19 distribution?
    20      Q. And you understand that, as            20      A. I do.
    21 a registrant, AmerisourceBergen has a          21      Q. What is your understanding
    22 duty to prevent -- to maintain effective       22 of that?
    23 controls to prevent diversion, correct?        23      A. With the passage of the
    24          MR. NICHOLAS: Object to the           24 Controlled Substance Act, there was the

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     1     form.                                      1  design of a closed system of distribution
     2         THE WITNESS: Yes.                      2  of controlled substances. And the system
     3 BY MR. PIFKO:                                   3 would be closed effectively by requiring
     4     Q. Do you understand why the                4 anybody within that system to have a DEA
     5 law wants you to maintain effective             5 registration; so whether you're a
     6 controls to prevent diversion?                  6 manufacturer, a distributor,
     7         MR. NICHOLAS: Object to the             7 practitioner, pharmacist.
     8     form. Outside the scope.                    8          The goal of -- the goal of
     9         I assume you're asking him              9 the closed system is to create this body
    10     this question as an individual at          10 of registered entities that, by getting
    11     this point, in any event. But I            11 that registration, would give you the
    12     object to the form of the                  12 authority and permission to carry out
    13     question.                                  13 whatever that function was that you had
    14         THE WITNESS: Could you                 14 within that registrant community.
    15     repeat your question, please?              15      Q. And you understand that
    16 BY MR. PIFKO:                                  16 along with authority to carry out that
    17     Q. What's diversion?                       17 function, you also have certain legal and
    18         MR. NICHOLAS: Object to the            18 regulatory obligations that you must
    19     form.                                      19 comply with, correct?
    20         THE WITNESS: Diversion in              20          MR. NICHOLAS: Object to the
    21     the context of the pharmaceutical          21      form.
    22     industry?                                  22          THE WITNESS: That
    23 BY MR. PIFKO:                                  23      AmerisourceBergen has, as a
    24     Q. Yes.                                    24      registrant, wholesale distributor,
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     1      has certain requirements imposed            1       description.
     2      upon it, yes.                               2  BY MR. PIFKO:
     3 BY MR. PIFKO:                                     3      Q. Do you understand a Schedule
     4      Q. As a result of being a                    4 I substance has -- the U.S. government
     5 registrant?                                       5 has said it has no legitimate medical
     6      A. Yes.                                      6 purpose? Do you understand that?
     7      Q. And one of those                          7          MR. NICHOLAS: Objection.
     8 requirements is to maintain effective             8      Outside the scope.
     9 controls to prevent diversion, correct?           9          THE WITNESS: I'm familiar
    10          MR. NICHOLAS: Object to the             10      with some of the substances within
    11      form.                                       11      Schedule I that are illegal drugs.
    12          THE WITNESS: Yes.                       12 BY MR. PIFKO:
    13 BY MR. PIFKO:                                    13      Q. Well, let's focus on
    14      Q. Let's just -- are you                    14 Schedule II substances.
    15 familiar with the scheduling of                  15          Do you understand that the
    16 prescription drugs or drugs in general,          16 litigation for which we're here today
    17 substances?                                      17 concerns opioid products?
    18          MR. NICHOLAS: Object to the             18      A. Yes.
    19      form. Outside the scope.                    19      Q. Can you tell me what an
    20          THE WITNESS: Referring to               20 opioid product is?
    21      the DEA scheduling?                         21      A. Again, there is -- there are
    22 BY MR. PIFKO:                                    22 opioids and there are opiates. There
    23      Q. Yes.                                     23 tends to be some confusion. I think most
    24      A. Yes. I'm generally familiar              24 people today generally refer to opioids.

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     1 with it.                                         1          Opiates would be those
     2      Q. Do you know what -- a                    2  products that have the natural derivative
     3 substance that's classified as a Schedule         3 coming from a natural plant, whereas
     4 II, what's that mean?                             4 opioids would have a synthetic creation
     5           MR. NICHOLAS: Same                      5 and resemble the natural ingredient.
     6      objection.                                   6         And so talking about
     7           THE WITNESS: Generally,                 7 opioids, you would be talking about
     8      looking at the scheduling of                 8 oxycodone, for example. And talking
     9      controlled substances, generally             9 about opiates, you would be talking about
    10      speaking, the design of the                 10 opium. But there's been some mixing of
    11      schedule takes into effect -- or            11 some of this terminology.
    12      takes into consideration whether a          12      Q. An opiate is derived from
    13      product has some medical value and          13 the poppy plant, correct?
    14      it takes in the potential of abuse          14      A. Yes.
    15      of a product.                               15      Q. You mentioned hydrocodone --
    16           And so moving from the lower           16 I mean, you mentioned oxycodone as an
    17      schedule to a higher schedule, you          17 opioid, correct?
    18      would generally see a higher abuse          18      A. Yes.
    19      potential of the products within            19      Q. What about hydrocodone, do
    20      those different schedules. And,             20 you know what that is?
    21      conversely, you would see less              21      A. Opioid, yes.
    22      medical use and more medical use            22      Q. Are there any other opioid
    23      as you increase in schedules.               23 products you can identify?
    24           That's a general                       24      A. Fentanyl would be an opioid
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     1 product. And there's a pretty long list.         1 our diversion control program, yes.
     2 And to be clear, I'm not a pharmacist.           2       Q. Okay. And beyond complying
     3     Q. Understood.                               3 with the legal requirements, do you
     4     A. I want to make sure that's                4 understand why you want to prevent
     5 clear for the record.                            5 Schedule II substances from getting into
     6     Q. Do you understand that those              6 illegitimate hands?
     7 substances are Schedule II substances?           7           MR. NICHOLAS: Object to the
     8     A. Yes.                                      8       form. Object to the scope.
     9     Q. And do you understand --                  9           THE WITNESS: I'm still not
    10     A. I'm sorry, just for the                  10       sure I understand the question.
    11 record.                                         11 BY MR. PIFKO:
    12          Oxycodone and hydrocodone?             12       Q. You testified earlier that
    13     Q. Yes.                                     13 the idea of preventing diversion is to
    14     A. Yes.                                     14 prevent products from getting into
    15     Q. And fentanyl?                            15 illegitimate medical use, correct?
    16     A. Yes.                                     16           MR. NICHOLAS: Object to the
    17          MR. NICHOLAS: What time                17       form. Object to the scope.
    18     period are we talking about?                18           THE WITNESS: In part, yes.
    19          THE WITNESS: Again, there              19 BY MR. PIFKO:
    20     was a rescheduling of hydrocodone           20       Q. And what I'm trying to
    21     where it was relatively recently            21 understand is if you have an
    22     put in II, Schedule II.                     22 understanding as to why we want to do
    23 BY MR. PIFKO:                                   23 that.
    24     Q. In 2014 it moved from                    24           MR. NICHOLAS: Object to the
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     1 Schedule III to Schedule II, correct?            1     form. Object to the scope.
     2      A. Yes, sir.                                2         THE WITNESS: Again, as
     3      Q. You understand that a                    3     you've stated, as a registrant, we
     4 product that is a Schedule II substance          4     have certain requirements imposed
     5 has been deemed, under the laws, to have         5     upon us. And I oversee the
     6 a high potential for abuse, correct?             6     programs at ABC that we utilize to
     7         MR. NICHOLAS: Object to the              7     adhere to those requirements.
     8      form.                                       8         In terms of why do we want
     9         THE WITNESS: Yes, generally              9     to prevent diversion, I can offer
    10      speaking.                                  10     my individual view. But, again,
    11 BY MR. PIFKO:                                   11     that would be not responding to
    12      Q. So when we talk about                   12     your -- not being responsive as
    13 preventing diversion, why do we want to         13     the company representative.
    14 prevent Schedule II products from being         14 BY MR. PIFKO:
    15 diverted?                                       15     Q. I'd like you to give me your
    16         MR. NICHOLAS: Object to the             16 view, however we're going to hear it.
    17      form. Object to the scope.                 17         MR. NICHOLAS: Object to the
    18         THE WITNESS: I'm not sure I             18     form. Object to the scope.
    19      understand the question.                   19         Go ahead.
    20 BY MR. PIFKO:                                   20         THE WITNESS: So, again,
    21      Q. It's your job at                        21     with that caveat in mind that I
    22 AmerisourceBergen to run its efforts to         22     mentioned, we have anti-diversion
    23 prevent diversion, correct?                     23     programs in place to prevent the
    24      A. Correct. It's to oversee                24     misuse and abuse of controlled
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     1      substances.                                1   result?
     2 BY MR. PIFKO:                                   2            MR. NICHOLAS: Object to the
     3      Q. So if we are not effective              3       form. Object to the scope. Asked
     4 in preventing diversion, we can have             4      and answered.
     5 misuse of controlled substances, agree?          5           THE WITNESS: Again, the
     6          MR. NICHOLAS: Object to the             6      conjecture there, I can't respond
     7      form. Object to the scope.                  7      to a situation where there's not a
     8          THE WITNESS: So, again,                 8      factual bases.
     9      here there is conjecture in your            9           So I'll just rely upon my
    10      question about if we -- I'm not            10      previous response that
    11      sure who the "we" is, but                  11      AmerisourceBergen has effective
    12      AmerisourceBergen has effective            12      controls in place to prevent
    13      controls in place to prevent               13      diversion.
    14      diversion.                                 14 BY MR. PIFKO:
    15          So I guess that would be my            15      Q. In carrying out your efforts
    16      response.                                  16 to prevent diversion, are you trying to
    17 BY MR. PIFKO:                                   17 prevent drug abuse?
    18      Q. Maybe it was a bad question             18           MR. NICHOLAS: Object to the
    19 by me using the term "we," so I'll ask it       19      form. Object to the scope.
    20 again in a different way.                       20           He's here to answer factual
    21      A. Sure.                                   21      questions today.
    22      Q. And maybe we can work                   22           THE WITNESS: So on the
    23 through that.                                   23      first part, we have effective
    24          If any registrant, not                 24      controls in place to prevent
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     1 speaking about any specific one, who has        1        diversion.
     2 a duty to maintain effective controls to        2            On the second part of that
     3 prevent diversion, does not maintain             3       question, I believe I provided my
     4 effective controls to prevent diversion,         4       view relative to drug abuse.
     5 we can have drug abuse, correct?                 5 BY MR. PIFKO:
     6          MR. NICHOLAS: Object to the             6       Q. Forgive me, but I don't
     7      form. Object to the scope.                  7 understand.
     8          THE WITNESS: So two things.             8           So I'm just asking you --
     9      Again, if -- starting your                  9 when you say you provided your view, I
    10      question having some conjecture            10 don't understand the answer yet. So I
    11      there, I really can't respond to           11 just would like you to express it again.
    12      conjecture. And also would not             12           MR. NICHOLAS: Well,
    13      respond to other registrants'              13       obviously, in the form of that
    14      duties and requirements. I'll              14       question it's clear that it's been
    15      respond to ABC's.                          15       asked and answered. Object to the
    16          And, again, my response                16       form. Object to the scope. Asked
    17      would be that we have effective            17       and answered.
    18      controls in place to prevent               18           THE WITNESS: Maybe we can
    19      diversion.                                 19       go back to the question, and we'll
    20 BY MR. PIFKO:                                   20       start again.
    21      Q. Let me ask you this way: If             21 BY MR. PIFKO:
    22 AmerisourceBergen did not have effective        22       Q. Of course. I'll try to ask
    23 controls to prevent diversion, do you           23 it a different way.
    24 believe that drug abuse could occur as a        24           Do you believe there's a
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     1 linkage between drug abuse and                   1 AmerisourceBergen's procedures in this
     2 maintaining controls to prevent                  2 question.
     3 diversion?                                       3          I'm simply asking if you
     4          MR. NICHOLAS: Object to the             4 understand that there's a linkage between
     5      form. Object to the scope.                  5 effective controls to prevent diversion
     6          THE WITNESS: And, again,                6 and drug abuse?
     7      the question would call for my              7          MR. NICHOLAS: Same
     8      personal opinion.                           8     objection. All of my same
     9          And to that, I would only               9     objections.
    10      say that I oversee programs at ABC         10          THE WITNESS: And I would
    11      that are effective in terms of             11     rely upon my previous response.
    12      preventing diversion.                      12 BY MR. PIFKO:
    13 BY MR. PIFKO:                                   13     Q. Your previous response is
    14      Q. That's not my question. And             14 insufficient. You have not answered the
    15 I understand that you're trying to speak        15 question.
    16 to an issue. But you really need to             16          Sir, do you understand that
    17 answer the question.                            17 you are legally obligated to answer my
    18          And my question is if you              18 questions, unless he instructs you not to
    19 believe there's a linkage between drug          19 answer; and he has to have a valid basis.
    20 abuse and maintaining controls to prevent       20 You need to answer my questions. You
    21 diversion?                                      21 cannot refuse to answer the questions,
    22          I don't want an answer about           22 okay? Do you understand that?
    23 what the policies are or procedures are,        23          MR. NICHOLAS: He's not
    24 that's not what I'm asking. I'm simply          24     refusing to answer the questions.
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     1 asking if you believe there's a linkage          1          MR. PIFKO: He is.
     2 between drug abuse and maintaining               2          MR. NICHOLAS: He's
     3 effective controls to prevent diversion.         3     answering the questions.
     4           MR. NICHOLAS: Hold on.                 4          MR. PIFKO: No. In
     5 BY MR. PIFKO:                                    5     giving --
     6      Q. Do you understand the                    6          MR. NICHOLAS: He's
     7 question?                                        7     answering the question.
     8           MR. NICHOLAS: Hold on.                 8          MR. PIFKO: In giving
     9      I'll object to the form. I'll               9     evasive answers --
    10      object to the scope. The question          10          MR. NICHOLAS: You can't --
    11      has been asked a number of times.          11          MR. PIFKO: -- and speaking
    12           He's not a social scientist.          12     about something that's not
    13      He's not an epidemiologist.                13     responsive to my question is not
    14           THE WITNESS: So I'd go back           14     answering. It's not cooperative.
    15      to my response, and that is that           15     And we will address it.
    16      when it comes to our requirements          16 BY MR. PIFKO:
    17      at ABC to have effective controls          17     Q. You're a man of the law, I
    18      in place to prevent diversion, we          18 don't need to explain that to you. You
    19      meet those requirements.                   19 understand.
    20 BY MR. PIFKO:                                   20          We need your cooperation.
    21      Q. The record is clear that                21 This is a serious matter. You need to
    22 you're not giving an answer to the              22 answer the question, okay?
    23 question. I didn't ask you if you meet          23          MR. NICHOLAS: Hold on.
    24 the requirements or anything about              24 BY MR. PIFKO:


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     1      Q. And if I ask you a question              1 I just said to you about the instructions
     2 that's a yes-or-no question, you can't go        2 about complying about this deposition?
     3 and start meandering about the policies          3      A. Yes.
     4 and procedures, okay? You need to think          4      Q. Do you intend to comply?
     5 about what I'm asking and you need to            5      A. I have been complying.
     6 answer it.                                       6      Q. I disagree with you,
     7          Do you understand?                      7 respectfully. I am asking you very
     8          MR. NICHOLAS: That's a                  8 specific questions, and you are not
     9      lecture. He doesn't need a                  9 responding to my questions.
    10      lecture. It's inappropriate.               10           Do you intend to provide
    11 BY MR. PIFKO:                                   11 accurate questions -- or answers that
    12      Q. Do you understand what I'm              12 respond to exactly what I ask you?
    13 telling you, sir?                               13           MR. NICHOLAS: Object to the
    14          MR. NICHOLAS: And you can't            14      form.
    15      talk over me.                              15           THE WITNESS: I intend to
    16          MR. PIFKO: I can. You're               16      answer your questions accurately,
    17      not objecting.                             17      yes.
    18          MR. NICHOLAS: Then you'll              18 BY MR. PIFKO:
    19      keep talking and I'll keep                 19      Q. Do you intend to respond to
    20      talking. You're talking over me.           20 the questions that I ask you?
    21      You're lecturing him, you're               21           MR. NICHOLAS: Object to the
    22      bullying him and harassing.                22      form.
    23          MR. PIFKO: Because he's not            23           THE WITNESS: Yes.
    24      cooperating.                               24 BY MR. PIFKO:

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     1        MR. NICHOLAS: I'm not                     1     Q. If I ask you what your
     2    instructing him not to answer.                2 favorite color is, I don't want to hear
     3        MR. PIFKO: He's not                       3 what you had for dinner.
     4    complying with the rules.                     4          Do you understand that?
     5        MR. NICHOLAS: He's answered               5          MR. NICHOLAS: Object to the
     6    the question about eight times.               6     form. Pretty obnoxious. No need
     7        MR. PIFKO: He's not.                      7     for that kind of thing.
     8    And --                                        8          Right?
     9        MR. NICHOLAS: As you said                 9 BY MR. PIFKO:
    10    in the Merrill --                            10     Q. Do you understand that?
    11        MR. PIFKO: -- the record is              11          MR. NICHOLAS: Object to the
    12    clear.                                       12     form.
    13        MR. NICHOLAS: As you said                13          THE WITNESS: Yes.
    14    in the Merrill Gordon deposition,            14 BY MR. PIFKO:
    15    he's entitled to answer the                  15     Q. So let's try this again.
    16    deposition. Your witness is                  16          Do you understand there to
    17    entitled --                                  17 be a linkage between preventing diversion
    18        MR. PIFKO: You can do your               18 and drug abuse?
    19    lawyering all you want, but he's             19          MR. NICHOLAS: Object to the
    20    not cooperating.                             20     form. All the same objections.
    21        MR. NICHOLAS: I disagree.                21          THE WITNESS: Again, the
    22        MR. PIFKO: Okay.                         22     question has been asked several
    23 BY MR. PIFKO:                                   23     times and the question concerns
    24    Q. Sir, do you understand what               24     having effective controls.
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     1          And I've responded several             1 BY MR. PIFKO:
     2      times relative to the issue of             2     Q. You haven't. Please answer.
     3      effective controls that we have in         3          MR. NICHOLAS: Object to the
     4      place at ABC to prevent diversion.         4     form.
     5          I would rely upon that                 5          THE WITNESS: If we fail to
     6      response again.                            6     have effective controls in place,
     7 BY MR. PIFKO:                                   7     is a question that doesn't state
     8      Q. That's not the question I've            8     facts. It states conjecture.
     9 asked you. You're not answering. You're         9          And I can't respond relative
    10 not cooperating, okay?                         10     to conjecture. I can respond
    11          I'm going to bring you back           11     relative to the facts of the
    12 here, we're going to go all day here, and      12     matter around effective controls.
    13 I'm going to ask you all the questions I       13     We have effective controls in
    14 want to ask you. And we're going to have       14     place to prevent diversion --
    15 to bring you back here, and we're going        15 BY MR. PIFKO:
    16 to have to get some more answers because       16     Q. In joining --
    17 you're not cooperating, okay? I want you       17     A. -- at ABC.
    18 to understand that.                            18     Q. In joining AmerisourceBergen
    19          MR. NICHOLAS: Object to the           19 in 2014, did you review the company's
    20      form. Object to the speech.               20 prior practices and procedures regarding
    21          What he's saying isn't true.          21 diversion?
    22          Go on.                                22     A. Yes.
    23 BY MR. PIFKO:                                  23     Q. How far back did you
    24      Q. If AmerisourceBergen does              24 familiarize yourself with the company's

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     1 not maintain effective controls to              1 practices and procedures concerning
     2 prevent diversion, do you believe that          2 diversion?
     3 drug abuse can occur?                           3      A. I don't know that I can
     4          MR. NICHOLAS: Object to the            4 assign a specific year. I would say
     5      form. Outside the scope.                   5 looking back several years, more than two
     6          THE WITNESS: Again, you've             6 or three.
     7      asked me this question in several          7      Q. Are you familiar with the
     8      different formats and, again,              8 company's practices and procedures prior
     9      you're asking with this conjecture         9 to 2007?
    10      if we didn't have them in place.          10          MR. NICHOLAS: Object to the
    11          And my only response to that          11      scope. This is way outside the
    12      is, we have them in place,                12      scope of his 30(b)(6) domain.
    13      effective controls, to prevent            13          THE WITNESS: I may have
    14      diversion. And so I can't respond         14      some limited knowledge relative to
    15      to a question relative to                 15      the practices prior to 2007.
    16      conjecture.                               16 BY MR. PIFKO:
    17 BY MR. PIFKO:                                  17      Q. You testified as the
    18      Q. If you fail to prevent                 18 corporate representative in litigation
    19 diversion, do you believe that drugs can       19 brought by the West Virginia Attorney
    20 get into illegitimate channels?                20 General on behalf of AmerisourceBergen,
    21          MR. NICHOLAS: Object to the           21 correct?
    22      form.                                     22      A. Yes.
    23          THE WITNESS: I've responded           23      Q. And you testified about the
    24      to the question.                          24 company's policies and procedures,


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     1 correct? Concerning diversion?                 1   form. Object to the scope.
     2      A. Yes.                                   2       THE WITNESS: Again, I'd
     3      Q. How far back were you                  3   have to ask you to qualify it
     4 familiar with the company's policies in        4   more, because that's quite broad
     5 connection with your testimony in that         5   of a question.
     6 case?                                          6       So perhaps it would be -- I
     7          MR. NICHOLAS: Object to the           7   could be more responsive if the
     8      form.                                     8   question was narrowed down some.
     9          THE WITNESS: To my                    9         - - -
    10      recollection, the stated time
    11      period was some time in 2007, if I
    12      recall correctly.
    13 BY MR. PIFKO:
    14      Q. So you have some
    15 familiarity, from testifying in that
    16 litigation, with the company's practices
    17 going back to 2007?
    18          MR. NICHOLAS: Object to
    19      the form. Object to the form.
    20      Object to the scope. He's now
    21      testifying individually.
    22          THE WITNESS: Yes.
    23 BY MR. PIFKO:
    24      Q. Do you believe that, in
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     1 2007, AmerisourceBergen's policies and
     2 procedures for preventing diversion were
     3 appropriate?
     4          MR. NICHOLAS: Object to the
     5      form. Object to the scope.
     6          THE WITNESS: Yes.
     7 BY MR. PIFKO:
     8      Q. Has anyone ever told you
     9 that you have problems with your
    10 diversion control program?
    11          MR. NICHOLAS: Object to the
    12      form. And scope.
    13          THE WITNESS: I would say it
    14      would be helpful to narrow the
    15      question, because anyone is --
    16      that's quite broad. And I would
    17      say in the broad context, the
    18      answer would be no.
    19 BY MR. PIFKO:
    20      Q. No one has ever told you
    21 that AmerisourceBergen's program has gaps
    22 with respect to maintaining effective
    23 controls against diversion?
    24          MR. NICHOLAS: Object to
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                                               20       MR. PIFKO: Okay. We can
                                               21   take a lunch break. Thank you.
                                               22       VIDEO TECHNICIAN: Going off
                                               23   the record. 12:24 p.m.
                                               24          - - -
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                                           Page 182                                      Page 184
     1         (Whereupon, a luncheon                 1     THE WITNESS: Could you
     2     recess was taken.)                    2     refer me to the report? The FTI
     3           - - -                           3     Consulting report?
     4         VIDEO TECHNICIAN: We're           4 BY MR PIFKO:
     5     back on the record. The time is       5     Q. Correct. Exhibit-4 to be --
     6     1:06 p.m.                             6     A. I believe she prepared that
     7 BY MR. PIFKO                              7 report, yes.
     8     Q. I'm handing you what's             8     Q. This is later -- as we
     9 marked as Exhibit-9. I skipped one, I'll  9 discussed, that report was dated in 2015.
    10 come back to it.                         10          Do you recall?
    11            - - -                         11     A. Yes.
    12         (Whereupon,
    13     AmerisourceBergen-May Exhibit-9
    14     ABDCMDL 00216332-33, was marked
    15     for identification.)
    16           - - -
    17 BY MR PIFKO:
    18     Q. Take a moment to review that
    19 and let me know when you're done.
    20         For the record, it's a
    21 document Bates labeled ABDCMDL 00216232
    22 through 33.
    23         Are you ready?
    24     A. Yes.
                                           Page 183                                      Page 185
     1       Q. Have you seen this document
     2 before?
     3       A. I have.
     4       Q. Do you know what this is?
     5       A. It's an e-mail from Caroline
     6 Conneely to myself and others.
     7       Q. What was the last time you
     8 saw this?
     9       A. Date of the e-mail, March
    10 15th, 2016.
    11       Q. Is this a true and correct
    12 copy of the communications reflected in
    13 this e-mail?
    14       A. Yes.
    15       Q. So this is an e-mail, on the
    16 first page, it's from Caroline Conneely,
    17 dated Tuesday, March 15th, 2016, to you,
    18 Eric Cherveny, Sharon Hartman. The
    19 subject is OMP reason codes.
    20          The first question, Caroline
    21 Conneely, she's the consultant who
    22 prepared that report?
    23          MR. NICHOLAS: Object to the
    24       form.
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                                                1 BY MR PIFKO:
                                                2      Q. I'm handing you what is
                                                3 marked as Exhibit-8.
                                                4          Please take a moment to
                                                5 review that and let me know when you're
                                                6 ready.
                                                7          The document is Bates
                                                8 labeled ABDCMDL 00158342. The electronic
                                                9 data accompanying the document reflects
                                               10 that you were the custodian and that it's
                                               11 dated July 2nd, 2014.
                                               12          And the file name for the
                                               13 document is 2014 Thought Spot Diversion
                                               14 Control Training PowerPoint.
                                               15          MR. NICHOLAS: Just before
                                               16      we go into questioning on this
                                               17      document, a reminder, or whatever
                                               18      you want to call it, that the
                                               19      witness is designated as a
                                               20      30(b)(6) deponent for the period
                                               21      of time from 2015 to May of 2018.
                                               22          So to the extent we're
                                               23      embarking on questions about prior
                                               24      information or prior materials,
                                    Page 195                                            Page 197
                                                1       he's testifying as -- in his
                                                2       individual capacity.
                                                3 BY MR PIFKO:
                                                4       Q. Let me know when you're
                                                5 ready to talk.
                                                6       A. Thank you.
                                                7           I'm ready.
                                                8       Q. Do you recognize this
                                                9 document?
                                               10       A. I do.
                                               11       Q. Can you tell me what this
                                               12 is?
                                               13       A. This is a PowerPoint
                                               14 presentation that was put together for a
                                               15 sales meeting, where I was doing some
                                               16 training to our sales staff in the
                                               17 beginning of August 2014.
                                               18       Q. Is this a true and correct
                                               19 copy of a presentation that you gave at
                                               20 this conference?
                                               21       A. Yes.
                                               22       Q. It says the conference
                                               23 occurred from July -- I'm looking at the
    24        - - -                            24 first page of the document -- from July


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     1 30th to August 2nd, 2014 at the MGM Grand      1  abuse problem in the U.S. and,
     2 in Las Vegas; is that correct?                 2  tragically, people are dying.
     3      A. Correct.                                3          Do you see that?
     4      Q. And you attended this                   4      A. I do.
     5 conference during that time period?             5      Q. Do you agree with that?
     6      A. Yes.                                    6      A. Yes.
     7      Q. And what day was this                   7      Q. What was the basis for that
     8 presented on?                                   8 conclusion that you wrote there that I
     9      A. I'm not sure at this time.              9 just read?
    10 I'd have to consult my calendar.               10      A. The statistics.
    11      Q. And the conference was held            11      Q. Like the items referenced up
    12 at the MGM Grand casino in Las Vegas?          12 here, the 38,329 unintentional drug
    13      A. Yes.                                   13 overdose deaths in 2010?
    14      Q. What's Thought Spot?                   14      A. Yes. And other data that I
    15      A. What is Thought Spot? It's             15 was familiar with.
    16 the name of the conference. It's where         16          But these are two of the
    17 we bring in many of our independent            17 statistics that would support that
    18 retail pharmacy customers, together with       18 statement.
    19 our community and specialty sales staff,       19      Q. We talked, I believe, that
    20 and they spend time together during the        20 you joined AmerisourceBergen in 2014.
    21 conference.                                    21          Do you remember the month?
    22      Q. When was the last time you             22      A. I believe it was right
    23 saw this document?                             23 around the 1st of March, within a week.
    24      A. I believe I saw this                   24      Q. So this is only a few months
                                           Page 199                                          Page 201
     1 document last week. I reviewed several         1  after you had been at the company?
     2 PowerPoint presentations, I believe this       2       A. Based upon the dates here,
     3 was among them, in preparation for today.       3 yes.
     4       Q. Prior to that when was the             4      Q. At this time, did you have a
     5 last time you saw this?                         5 belief that members of the pharmaceutical
     6       A. It would have been at the              6 industry, be it manufacturers and/or
     7 time of presentation.                           7 distributors, had any role in
     8       Q. So let's go to Page 6.                 8 contributing to the prescription drug
     9           So we've got the slides               9 abuse problem in the U.S. that you
    10 here, these are -- if we look just             10 reference here?
    11 generally at the format of the document.       11          MR. NICHOLAS: Object to the
    12           At the top half of the page,         12      form of the question. I'll
    13 it's the slides that you presented at the      13      reiterate the scope objection as
    14 conference?                                    14      well. But I object to the form of
    15       A. Yes.                                  15      the question.
    16       Q. And then on the bottom are            16          THE WITNESS: At that time,
    17 notes that you made to yourself?               17      I have no specific memory of any
    18       A. Yes.                                  18      conclusions that I may have drawn
    19       Q. This slide is entitled,               19      relative to the prescription drug
    20 National Abuse Facts, correct?                 20      abuse problem.
    21       A. Yes.                                  21 BY MR PIFKO:
    22       Q. Your notes say, The                   22      Q. Do you believe that we still
    23 statistics overwhelmingly demonstrate          23 have a prescription drug problem in the
    24 that we have a terrible prescription drug      24 United States?


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     1       A. I believe that we've made             1           I know that
     2 great advancements in the last several         2       AmerisourceBergen delivers
     3 years. I still believe there is work to         3      medications every day to people
     4 be done.                                        4      who need them, life-saving
     5       Q. Have you heard the term                5      medications, the majority of which
     6 "opioid crisis"?                                6      is non-controlled.
     7       A. I have.                                7          And in terms of the market
     8       Q. Do you believe that we're              8      share of total medicine delivered,
     9 still in the opioid crisis?                     9      non-controlled and controlled,
    10       A. I do.                                 10      which is a much smaller aspect of
    11       Q. Do you presently have a view          11      our business as a percentage, I'd
    12 as to whether manufacturers and                12      have to leave those specific
    13 distributors of opioid products                13      responses to somebody -- somebody
    14 contributed to the opioid crisis?              14      else that has that information.
    15           MR. NICHOLAS: Object to the          15 BY MR PIFKO:
    16       form. Outside the scope.                 16      Q. So you believe that -- have
    17           THE WITNESS: I don't have            17 you heard the term the "three big three,"
    18       an opinion relative to                   18 with respect to McKesson, Cardinal and
    19       manufacturers and distributors.          19 AmerisourceBergen, in terms of their role
    20           I can respond in terms of            20 as distributors in the pharmaceutical
    21       AmerisourceBergen. And I do not          21 industry in the United States?
    22       believe they contributed to the          22          MR. NICHOLAS: Object to the
    23       opioid crisis.                           23      form.
    24 BY MR PIFKO:                                   24          THE WITNESS: I've seen
                                           Page 203                                          Page 205
     1      Q. Do you believe that as a --            1       publications and documents that
     2 let me back up.                                2       contain that reference.
     3          Do you have a sense of what            3      Specifically what those
     4 market share of the United States               4      publications are, I couldn't say.
     5 distribution of opioid products                 5 BY MR PIFKO:
     6 AmerisourceBergen has presently?                6      Q. Do you believe that as major
     7          MR. NICHOLAS: Objection.               7 entities in the closed system of
     8      Outside the scope.                         8 distribution of controlled substances,
     9          THE WITNESS: I'm probably              9 Cardinal, AmerisourceBergen and McKesson
    10      not the best person to talk about         10 have the ability to beneficially impact
    11      market share.                             11 the opioid crisis through their
    12 BY MR PIFKO:                                   12 practices?
    13      Q. Have you previously heard              13          MR. NICHOLAS: Object to the
    14 that AmerisourceBergen, Cardinal Health,       14      form. Objection on scope as well.
    15 and McKesson have approximately 80 to 90       15          THE WITNESS: You know, in
    16 percent of the market share of                 16      the context of your question, I
    17 distribution of pharmaceuticals in the         17      would say that every registrant
    18 United States?                                 18      has the potential to have an
    19          MR. NICHOLAS: Objection.              19      impact, large or small;
    20      Object to the form. Outside the           20      distributor, practitioner,
    21      scope.                                    21      pharmacy, manufacturer.
    22          THE WITNESS: Again, I'm               22          And, again, my concern is
    23      probably not the best person to           23      AmerisourceBergen and what we do
    24      talk about market share.                  24      there every day to fulfill our
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     1      obligations. And that's what my           1       do not have as a wholesale
     2      focus is.                                 2       distributor.
     3 BY MR PIFKO:                                    3           And generally speaking, I
     4      Q. Do you believe that                     4      think that if all registrants of
     5 AmerisourceBergen has a responsibility to       5      all types fulfill their legal
     6 take actions to reduce the impacts of the       6      obligations, that would -- that
     7 opioid crisis?                                  7      would have a positive impact.
     8           MR. NICHOLAS: Objection to            8 BY MR PIFKO:
     9      the form. Objection as to scope            9      Q. On the opioid crisis?
    10      as well.                                  10      A. On the opioid crisis.
    11           THE WITNESS: I believe that          11           MR. NICHOLAS: Object to the
    12      AmerisourceBergen has various             12      form.
    13      requirements that are imposed upon        13           THE WITNESS: Yes.
    14      it, as a registrant, through the          14 BY MR PIFKO:
    15      laws and regulations.                     15      Q. Do you believe that by
    16 BY MR PIFKO:                                   16 following its obligation to prevent
    17      Q. Do you believe that by                 17 diversion, AmerisourceBergen can prevent
    18 preventing diversion AmerisourceBergen         18 opioid pills from falling into the hands
    19 can make a positive impact on the opioid       19 of the black markets?
    20 crisis?                                        20           MR. NICHOLAS: Objection as
    21           MR. NICHOLAS: Object to the          21      to form. Objection as to scope.
    22      form. Objection as to scope.              22           THE WITNESS: So, again, you
    23           THE WITNESS: I think if              23      know, you're asking now inserting
    24      AmerisourceBergen fulfills its            24      conjecture. And I have no
                                           Page 207                                         Page 209
     1     requirements under the                     1       response to a set of facts that
     2     regulations, it will accomplish            2       aren't real. I can't -- I can't
     3     what it's required to do.                   3      respond to a question that's
     4 BY MR PIFKO:                                    4      conjecture. I can respond to a
     5     Q. And what is it required to               5      question, you know, where there
     6 do?                                             6      are facts associated with the
     7         MR. NICHOLAS: Object to the             7      question.
     8     form. Object -- let me start that           8           So as I said before, when it
     9     again.                                      9      comes to our regulatory
    10         Objection as to form.                  10      requirements at AmerisourceBergen,
    11     Objection as to scope.                     11      we meet them. We're constantly
    12         THE WITNESS: Again, as a               12      evaluating how our performance is
    13     registrant and a wholesale                 13      and how we're meeting them. We
    14     distributor, we have certain               14      are constantly evaluating things
    15     requirements imposed upon us in            15      that we could possibly do
    16     the closed system of distribution          16      differently to continuously
    17     that you've alluded to.                    17      analyze the results of our work,
    18         Within the closed system,              18      all in an effort to do everything
    19     there are different requirements           19      that we can to meet our
    20     based upon where you sit. The              20      requirements.
    21     practitioner certainly has a               21 BY MR PIFKO:
    22     different requirement,                     22      Q. Do you believe that one of
    23     establishing a patient/doctor              23 the things that you are striving to do,
    24     relationship, for example, that we         24 as the senior-most person in the


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     1 diversion control department, is to             1          Q.   Is that the company's view,
     2 prevent pills from getting into illegal         2   too?
     3 markets?                                        3           MR. NICHOLAS: Objection as
     4          MR. NICHOLAS: Objection as             4      to form. Objection as to scope.
     5      to form. Objection as to scope.            5           THE WITNESS: -- I think
     6          THE WITNESS: Again, I view             6      that the company has stated
     7      my role, as the senior person over         7      publicly that they recognize the
     8      our diversion control efforts, as          8      opioid abuse problem and want to
     9      one to make sure that we, as a             9      do everything they can to
    10      company, day in and day out,              10      contribute to solutions.
    11      fulfill all of our legal                  11 BY MR PIFKO:
    12      obligations. That's my number one         12      Q. Let's go to Page 9 of this
    13      priority.                                 13 document.
    14          And when I come to work each          14           Are you there?
    15      day, that's what I try to do.             15      A. I am.
    16 BY MR PIFKO:                                   16      Q. It says, More recently, DEA
    17      Q. In carrying out your duties            17 has shifted an increasingly large number
    18 as the head of the diversion control           18 of their special agents who are
    19 program for AmerisourceBergen, do you          19 investigating criminal drug trafficking
    20 believe that -- is it important to you to      20 organizations to newly created tactical
    21 prevent pills from falling into the hands      21 diversion squads. And part of their
    22 of someone who could suffer an overdose?       22 mandate is to use their law enforcement
    23          MR. NICHOLAS: Objection as            23 skills at developing criminal
    24      to form. Objection as to scope.           24 investigations, which lead to indictments

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     1         THE WITNESS: Again, I think             1 and arrests, of all DEA registrants that
     2     I've been pretty clear in terms of          2 are members of the closed system,
     3     what I hope to accomplish and what          3 including manufacturers, distributors,
     4     I believe to be my                          4 doctors, pharmacies. These criminal
     5     responsibilities are at                     5 charges may be brought against the
     6     AmerisourceBergen.                          6 organizations themselves and/or the
     7         I'm happy to repeat those.              7 organization's employees.
     8 BY MR PIFKO:                                    8          Do you see that?
     9     Q. Do you hope to accomplish a              9      A. I do.
    10 reduction of overdose deaths? Is that          10      Q. What was the basis of making
    11 something that you seek to accomplish?         11 that statement?
    12         MR. NICHOLAS: Objection as             12          MR. NICHOLAS: Object to the
    13     to form. Objection as to scope.            13      form.
    14         THE WITNESS: Again, as I've            14          THE WITNESS: That statement
    15     outlined, I think that there are           15      was made in the context of this
    16     various requirements imposed upon          16      entire presentation. It was
    17     different registrants within the           17      intended to inform our sales
    18     system. And I think if, that, all          18      folks, educate our sales folks, in
    19     registrants concentrate on their           19      a very general way, about facets
    20     requirements and carry out those           20      of diversion control and our
    21     duties, it will have a positive            21      obligations.
    22     impact on prescription drug abuse.         22          So there's no specific
    23         That's a personal view --              23      intent of this statement, other
    24 BY MR PIFKO:                                   24      than to say, this is part of the
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     1      regulatory environment, as well as         1       Q. What was the purpose of the
     2      these other things.                        2  tactical diversion squad that you
     3 BY MR PIFKO:                                     3 oversaw?
     4      Q. How did you know that there              4          MR. NICHOLAS: Object as to
     5 were these newly created tactical                5      form and scope. And with the same
     6 diversion squads?                                6      caveat that I just interposed a
     7          MR. NICHOLAS: Objection as              7      minute ago.
     8      to form. Objection as to scope.             8          Go ahead.
     9          THE WITNESS: Through my                 9          THE WITNESS: And, again,
    10      work and experience at DEA. I              10      beyond -- going beyond the
    11      oversaw one of these DEA tactical          11      description I've provided here, I
    12      diversion squads.
    13 BY MR PIFKO:
    14      Q. You oversaw one of these
    15 tactical --
    16      A. Yes.
    17      Q. -- diversion squads?
    18          In what part of your career
    19 did you oversee one of these tactical --
    20      A. When I was in Atlanta.
    21      Q. What was the -- was the task
    22 of the tactical diversion squad
    23 consistent with what's reflected here?
    24          MR. NICHOLAS: Object to the
                                            Page 215                                         Page 217
     1      form. Scope.
     2          THE WITNESS: Yes, generally
     3      speaking.
     4 BY MR PIFKO:
     5      Q. What were you seeking to do
     6 as part of that task force -- sorry,
     7 tactical diversion squad?
     8          MR. NICHOLAS: Object to the
     9      form. Object as to scope. And I
    10      just want to make it clear that
    11      the witness is not speaking as a
    12      representative of the DEA or
    13      purporting to represent any DEA
    14      positions.
    15          THE WITNESS: I'm sorry,
    16      what was the question?
    17 BY MR PIFKO:
    18      Q. I was asking what the
    19 purpose -- you said you ran one of these
    20 tactical diversion squads, correct?
    21      A. To be specific, I had a
    22 group supervisor who reported directly to
    23 me who was the direct supervisor of the
    24 tactical diversion squad.


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                                               1  BY MR PIFKO:
                                               2       Q. Let's go to Slide 16 -- or
                                                3 Page 16, it says Slide 17.
                                                4         Are you there?
                                                5      A. Yes, sir.
                                                6      Q. Okay. It says, What's being
                                                7 diverted?
                                                8         Do you see that?
                                                9      A. Yes.
                                               10      Q. The biggest threat for
                                               11 diversion is our opioids.
                                               12         Do you see that?
                                               13      A. Yes.
                                               14      Q. Do you agree with that
                                               15 statement?
                                               16         MR. NICHOLAS: Object to the
                                               17      form.
                                               18         THE WITNESS: I agree.
                                               19 BY MR PIFKO:
                                               20      Q. You see here it says, So it
                                               21 happens frequently that you will see
                                               22 someone who was prescribed hydrocodone
                                               23 following an injury or medical
                                               24 intervention for legitimate medical


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     1 purposes but then continues to use and          1     potential misuse and abuse,
     2 abuse the drug long after the legitimate        2     there's clearly things, as a
     3 medical need has passed.                        3     wholesale distributor, that we can
     4          Do you see that?                       4     and cannot do.
     5      A. I do.                                   5          And that clinical process
     6      Q. Do you agree with that                  6     and that overprescribing, to the
     7 statement?                                      7     extent that we can impact that by
     8      A. I believe that could occur,             8     identifying suspicious orders, we
     9 yes.                                            9     do that. But beyond that, there's
    10      Q. Do you believe that in                 10     nothing we can do.
    11 trying to prevent diversion, you're            11 BY MR PIFKO:
    12 trying to prevent that from occurring?         12     Q. So in identifying suspicious
    13          MR. NICHOLAS: Object to the           13 orders, to the extent you can have an
    14      form. Object as to scope as well.         14 impact on that, you try to do that?
    15          THE WITNESS: So as a                  15          MR. NICHOLAS: Object to the
    16      wholesale distributor in the              16     form. And scope. Object to the
    17      environment in which we work and          17     form.
    18      the things that we can and cannot         18          THE WITNESS: Again, as a
    19      do, I cannot, as a wholesale              19     wholesale distributor, we have a
    20      distributor, prevent a                    20     view into the data that that
    21      practitioner from continually             21     pharmacy, the consumption data,
    22      writing a hydrocodone prescription        22     the products that that pharmacy is
    23      for a patient who suffered an             23     ordering from us. And based upon
    24      injury a long time ago but                24     that data, we can make a
                                           Page 223                                           Page 225
     1     continues to write those. There             1      determination if an order is
     2     is nothing -- I have no visibility          2      suspicious.
     3     to that patient. I have no                  3          But to be clear, even an
     4     visibility to that practitioner.            4      order that's found to be
     5         Likewise, I don't see that              5      suspicious and rejected by us,
     6     patient when he walks through the           6      there is not an equation between
     7     doors at the pharmacy and he                7      finding an order suspicious and
     8     interacts with the pharmacist.              8      diversion. They're separate.
     9     And I don't see the information             9      They're separate concepts. There
    10     that the pharmacy has at their             10      could be an order that we find as
    11     disposal, the pharmacist, in terms         11      suspicious where there's
    12     of the diagnostic code on that             12      absolutely no diversion taking
    13     prescription. Of course, there             13      place.
    14     are HIPAA concerns there as well.          14          And so, again, as a
    15         So our role in the supply              15      wholesale distributor, our
    16     chain is fairly limited. I can             16      capabilities are somewhat narrow
    17     monitor the orders being placed by         17      in this respect.
    18     that pharmacy, and I can look for          18 BY MR PIFKO:
    19     orders that meet the definition of         19      Q. The first question here on
    20     suspicious. And if I find those,           20 this note here says, And what's being
    21     I can report those to DEA. But to          21 diverted?
    22     make a connection between that             22          Agree?
    23     sort of work and me being able to          23      A. Yes.
    24     prevent overprescribing and                24      Q. And the heading of the
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     1 slide, Is Most Commonly Diverted Drugs,
     2 right?
     3      A. Yes.
     4      Q. You're talking about
     5 diverted drugs, right, in this slide?
     6      A. We're talking about the most
     7 commonly diverted drugs, yes.
     8      Q. And then you're talking
     9 about the biggest threat for diversion
    10 are opioids.
    11           Do you see that?
    12      A. Yes.
    13      Q. So you then make the
    14 linkage, you talk about -- you then
    15 present the sentence I just read, about
    16 someone who is prescribed hydrocodone
    17 following an injury or medical
    18 intervention for medical -- legitimate
    19 medical purposes but then continues to
    20 use and abuse the drug long after the
    21 legitimate medical need has passed.
    22           Why did you feel that you
    23 wanted to communicate that information to
    24 the people at this conference in

                                          Page 227                          Page 229
     1 connection with the discussion of
     2 commonly diverted drugs?
     3         MR. NICHOLAS: Object to the
     4     form. Objection as to scope.
     5         THE WITNESS: Again, this is
     6     one slide of many where my goal
     7     here was to inform and educate our
     8     sales staff. And so that was the
     9     intent of this presentation, to
    10     make our sales staff aware, who
    11     may not be aware, of some of the
    12     finer points around diversion.
    13     Maybe they read about opioid
    14     abuse, maybe there's some other
    15     general knowledge they have.
    16         Here is simply an attempt by
    17     me to describe some of the drugs
    18     that are abused, and also a
    19     possible scenario on how that
    20     abuse might occur. There could be
    21     many other scenarios. But this
    22     was the goal and the intent and
    23     the reasons behind the statement.
    24 BY MR PIFKO:


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     1       Q. Let's talk about the                  1           For people to travel great
     2 physical red flags of diversion. Go to         2  distances to receive -- or to have
     3 the next page.                                  3 prescriptions filled would, therefore, be
     4          It shows a long line of                4 a red flag.
     5 people outside a pharmacy.                      5      Q. And in giving this
     6          Why is that a red flag?                6 presentation and making these examples,
     7       A. Again, we've all been to               7 these are things that you wanted the
     8 pharmacies and have picked up                   8 salespeople who are visiting the
     9 prescriptions; and any prescription that        9 pharmacies in connection with their jobs,
    10 I've ever picked up, I don't recall            10 you wanted them to be able to observe
    11 seeing a long line of patrons outside.         11 these things so they could report it back
    12 So just for the sheer fact alone that          12 to the company?
    13 it's something that you wouldn't               13          MR. NICHOLAS: Object to the
    14 typically see.                                 14      form.
    15          That being said, again, this          15          THE WITNESS: We wanted them
    16 presentation is a little dated. I think        16      to be knowledgeable about the red
    17 that some of these red flags were              17      flags. We wanted them to, if they
    18 probably more relevant some time ago. I        18      were to make these observations or
    19 don't think that -- that sort of activity      19      other observations that somehow
    20 there would even be more rare in these         20      seemed unusual to them, we wanted
    21 days.                                          21      them to collect that information
    22       Q. The next slide has some               22      and pass it back to us in the
    23 license plates, and it talks about --          23      diversion control section so that
    24 well, you say, I was always amazed, in my      24      we could follow up, yes.
                                           Page 239                                         Page 241
     1 former position with DEA in Atlanta, when      1  BY MR PIFKO:
     2 we would be observing the activities at a      2       Q. And you believe that by them
     3 particular pharmacy and you would see           3 presenting that information, it can aid
     4 vehicles from Tennessee, West Virginia          4 the company in preventing diversion,
     5 and Virginia show up at the pharmacy,           5 correct?
     6 typically with more than one person in          6          MR. NICHOLAS: Object to the
     7 the vehicle, where the occupants of the         7      form.
     8 vehicle would go in, fill a prescription,       8          THE WITNESS: By training
     9 and then head right back to the highway         9      our diversion -- I mean, by
    10 in the direction of their home state.          10      training our sales staff, I'm
    11          Do you see that?                      11      sorry, this was just another step
    12      A. I do.                                  12      that we took that we felt was
    13      Q. That's a red flag of                   13      required to fulfill our
    14 diversion?                                     14      responsibilities under the
    15          MR. NICHOLAS: Object to the           15      regulations.
    16      form.                                     16 BY MR PIFKO:
    17          THE WITNESS: Yes.                     17      Q. Is this a step that was
    18 BY MR PIFKO:                                   18 added to your process?
    19      Q. And why is that?                       19          MR. NICHOLAS: Object to the
    20      A. So when I go to fill a                 20      form.
    21 prescription, you know, unless there's         21          THE WITNESS: There was some
    22 some hard-to-receive medication, I'm           22      training that took place of our
    23 going to go to a place that's convenient       23      sales staff. I believe I saw, in
    24 to my home or my office.                       24      the past, other PowerPoints that
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     1      were presented. But I can't talk           1      completely understanding.
     2      about the specifics in terms of            2          Did the company have other
     3      who and when that was done.                3      information like this that it
     4 BY MR PIFKO:                                    4      shared with its sales executives?
     5      Q. Well, when you came into the            5 BY MR PIFKO:
     6 position, you undertook an effort to            6      Q. It's okay. Sorry that you
     7 become familiar with what the protocols         7 don't understand.
     8 and processes were, correct?                    8      A. Sure. Thanks.
     9           MR. NICHOLAS: Object to the           9      Q. This is after you joined the
    10      form. Asked and answered a number         10 company, right?
    11      of times.                                 11      A. Yes.
    12           THE WITNESS: When I joined,          12      Q. You gave this presentation?
    13      I tried to become aware of as much        13      A. I did.
    14      as I could around the entire              14      Q. You had never given this
    15      diversion control program.                15 presentation before, right?
    16 BY MR PIFKO:                                   16      A. Correct.
    17      Q. And was there any effort in            17      Q. So my question is, before
    18 2015 -- or, sorry, 2014, when you joined       18 you had given this presentation, were you
    19 the company, to collect that kind of           19 aware of whether there was any effort by
    20 information and put it in a usable form?       20 the company to obtain this type of
    21           MR. NICHOLAS: Objection.             21 red-flag information from sales
    22      Outside the scope.                        22 associates and use it in their efforts to
    23           THE WITNESS: Could you               23 prevent diversion?
    24      define your question a little bit         24          MR. NICHOLAS: Well,
                                           Page 243                                           Page 245
     1      more? Because it's a little bit            1    objection to the form. And to the
     2      open-ended.                                2    scope. And I think it's a
     3 BY MR PIFKO:                                    3    misleading question in light of
     4      Q. These red flags of diversion            4    what the witness has just said
     5 we're talking about, and specifically           5    back to you.
     6 we're talking about the training that was       6        THE WITNESS: As I responded
     7 done and how sales associates can make          7    previous, there was some training
     8 observations that could help the company        8    that was done, prior to my
     9 in its efforts to prevent diversion.            9    arrival, of the sales staff. And
    10           And what I'm asking you is           10    I remember seeing some
    11 whether you're -- if you're aware of           11    documentation, whether it was a
    12 whether the company had any processes or       12    PowerPoint presentation, I don't
    13 procedures to obtain and use that              13    recall specifically what that was,
    14 information, in 2014, to prevent               14    where similar training was
    15 diversion?                                     15    provided to our sales staff.
    16           MR. NICHOLAS: Objection.             16        I can't really comment on
    17      Form. And outside the scope.              17    the specific content at this
    18           THE WITNESS: So I guess I'm          18    point, because it was something
    19      a little confused, because this           19    that I viewed among everything
    20      would be an example of the                20    else around our diversion control
    21      training that we provided to our          21    program when I walked through the
    22      sales staff.                              22    doors.
    23           And maybe I'm missing                23 BY MR PIFKO:
    24      something. I'm still not                  24    Q. Do you know if there were
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     1 any systems in place to collect                1           (Whereupon,
     2 information and use it at the time that        2       AmerisourceBergen-May Exhibit-10,
     3 you joined, that type of information?           3      ABDCMDL 00159072, was marked for
     4          MR. NICHOLAS: Objection.               4      identification.)
     5      Form. Scope. And there was                 5            - - -
     6      questioning on this yesterday of a         6 BY MR PIFKO:
     7      witness for whom this was within           7      Q. I'm handing you what's
     8      the scope of his 30(b)(6)                  8 marked as Exhibit-10. Sorry, I handwrote
     9      deposition.                                9 the date on the copy, I thought it was
    10          THE WITNESS: Again, collect           10 mine. That's the only writing that's on
    11      this type of information. So              11 there.
    12      diversion red flags for sales             12          For the record, this is a
    13      executives. Again, my response            13 document Bates labeled ABDCMDL 00159072.
    14      would be the same. I recall some          14          Take a moment to review this
    15      training that was given. The              15 and let me know when you're done.
    16      content of the training, I                16          For the record, it's dated
    17      don't -- I don't recall.                  17 October 6th, 2016. The custodian is
    18 BY MR PIFKO:                                   18 David May. The file name is NADDI
    19      Q. My question is not about the           19 slides.
    20 training. It's about whether there was         20      A. Okay.
    21 processes and protocols in place to use        21      Q. Have you seen this before?
    22 information that sales associates might        22      A. I recognize the content as
    23 have provided from these red flags of          23 content that I delivered to a NADDI
    24 diversion. That's what I'm asking you.         24 training conference, NADDI being National

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     1         MR. NICHOLAS: Objection.               1  Association of Drug Diversion
     2 BY MR PIFKO:                                   2  Investigators.
     3     Q. And to be clear, I'm asking              3       Q. What was the purpose of this
     4 you in your personal capacity.                  4 presentation?
     5         MR. NICHOLAS: Okay.                     5       A. Again, it was intended to be
     6     Objection. Asked and answered a             6 educational for the law enforcement
     7     number of times. This is                    7 community about who wholesale
     8     repetitive.                                 8 distributors were and how we could assist
     9         THE WITNESS: In terms of                9 them in their efforts.
    10     the latter part of your question,          10       Q. This is a presentation that
    11     whether there were protocols in            11 you gave to that organization on or
    12     place, I don't know.                       12 around October 2016?
    13         MR PIFKO: Let's take a                 13       A. So I've given two
    14     break.                                     14 presentations. I believe this is the
    15         VIDEO TECHNICIAN: Going off            15 first presentation, yes.
    16     record. 2:17 p.m.                          16       Q. And you believe it was some
    17            - - -                               17 time in October 2016?
    18         (Whereupon, a brief recess             18       A. I don't have anything that's
    19     was taken.)                                19 dated, but -- I'd have to actually
    20           - - -                                20 confirm the date unless there's some
    21         VIDEO TECHNICIAN: We're                21 other document you can point me to that I
    22     back on record. The time is 2:32           22 can confirm the date.
    23     p.m.                                       23       Q. I can just tell you that the
    24            - - -                               24 data associated with the document said


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     1 that it was dated October 6th, 2016.            1     form. Objection to the scope.
     2       A. So let's assume it's around            2     Asked and answered.
     3 that time period.                               3          THE WITNESS: And I would
     4           If I created the document,            4     rely upon my previous response as
     5 then, presumably, it would have been in         5     well. And restate it.
     6 relation time-wise to when I gave the           6          I can't sit here and speak
     7 presentation.                                   7     to the programs or market share
     8       Q. Let's go to -- well, the               8     relative to Cardinal and McKesson.
     9 first slide.                                    9     I can say that, regardless of
    10           Do you see the language on           10     market share, regardless of being
    11 the first page here in the notes,              11     AmerisourceBergen or one of the
    12 McKesson, Cardinal and AmerisourceBergen       12     other 800 wholesale distributors,
    13 have a combined market share in excess of      13     it's not about market share, it's
    14 90 percent?                                    14     really about everyone doing what
    15       A. Yes.                                  15     they're supposed to be doing.
    16       Q. Do you agree with that                16 BY MR PIFKO:
    17 statement?                                     17     Q. And that's how we prevent
    18           MR. NICHOLAS: Object to the          18 diversion and prevent the opioid crisis?
    19       form.                                    19          MR. NICHOLAS: Object to the
    20           THE WITNESS: Again, I would          20     form. Object to the scope.
    21       have researched that at that time        21          THE WITNESS: I'll rely on
    22       period and derived information           22     my previous response.
    23       from others at the time period           23 BY MR PIFKO:
    24       when this was given.                     24     Q. Well, you said regardless of
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     1          I recognize that the                   1 market share, regardless of being
     2      information I received, I assume           2 AmerisourceBergen or one of the other 800
     3      that it was correct, that was              3 wholesale distributors, it's not about
     4      provided to me. And it's a                 4 market share, it's about, really,
     5      general estimate.                          5 everyone doing what they're supposed to
     6 BY MR PIFKO:                                    6 be doing.
     7      Q. Do you recall before we were            7         What's everybody supposed to
     8 talking about market share?                     8 be doing?
     9      A. I do.                                   9         MR. NICHOLAS: Object to the
    10      Q. And I had a question about             10     form. Object to the scope.
    11 whether if you believed that the three         11     Object to the cross-examination of
    12 distributors with almost all of the            12     the witness by his very last
    13 market share played any role in the            13     answer. I'll object.
    14 opioid epidemic.                               14         THE WITNESS: Again, from
    15          Do you recall that                    15     your question, I understand you to
    16 discussion?                                    16     mean that, because of market
    17      A. I do.                                  17     share, that that market share
    18      Q. So now seeing the data, do             18     somehow gives us some influence
    19 you believe that the entities who              19     over the opioid issue. And my
    20 controlled 90 percent of the                   20     statement is that it's not a
    21 pharmaceutical distribution market had an      21     question of market share. And at
    22 ability to take actions that would have        22     AmerisourceBergen, we have
    23 reduced the impact on the opioid crisis?       23     requirements that are put upon us
    24          MR. NICHOLAS: Object to the           24     and we fulfill those requirements.
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     1 BY MR PIFKO:                                     1      A. I do.
     2    Q. And if everybody is doing                  2      Q. Do you agree with that
     3 what they can be doing, that's how you           3 statement?
     4 impact the crisis, correct?                      4          MR. NICHOLAS: Object to the
     5         MR. NICHOLAS: Well, object               5      form.
     6    to the form. Object to the scope.             6          THE WITNESS: I do agree
     7    Object to the fact that you've                7      with that statement in the context
     8    asked the question about seven or             8      of this training. I would also
     9    eight times, probably more,                   9      say that you see reference to due
    10    probably fifteen or twenty times             10      diligence in other areas as well;
    11    today. Asked and answered.                   11      namely being the limited guidance
    12         THE WITNESS: I think I                  12      DEA has furnished in the form of
    13    responded several times to this.             13      those memorandum that were shared.
    14         And, again, I would just                14 BY MR PIFKO:
    15    emphasize that throughout the                15      Q. And you believe knowing your
    16    closed system, there are different           16 customer and due diligence is part of the
    17    requirements imposed upon                    17 requirement to maintain effective
    18    different registrants. And, yes,             18 controls to prevent diversion?
    19    if all registrants comply with               19          MR. NICHOLAS: Object to the
    20    their requirements, then it would            20      form. Object to the scope.
    21    have a positive effect on                    21          THE WITNESS: I'm so sorry,
    22    diversion control.                           22      can you repeat your question,
    23 BY MR PIFKO:                                    23      please?
    24    Q. Let's go to Slide 5, which                24 BY MR PIFKO:

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     1 is on Page 5.                                    1      Q. Do you believe that knowing
     2          Are you there?                          2 your customer and due diligence is part
     3      A. Yes.                                     3 of the requirement to maintain effective
     4      Q. There's a picture of a form              4 controls to prevent diversion?
     5 and then a discussion below about the            5          MR. NICHOLAS: Object to the
     6 information you collect from your                6      form. Object to the scope.
     7 customers pursuant to the "know your             7          THE WITNESS: I believe that
     8 customer" requirement.                           8      knowing your customer and due
     9      A. Yes.                                     9      diligence is an aspect of
    10      Q. Do you see that?                        10      AmerisourceBergen's program to
    11          Is this the Form 590?                  11      satisfy their requirements.
    12      A. Yes.                                    12 BY MR PIFKO:
    13      Q. And let's go up to the                  13      Q. Do you believe that knowing
    14 previous slide. Page 4.                         14 your customer is required under the law?
    15          You have a comment here that           15          MR. NICHOLAS: Object to the
    16 says, You don't see specific reference to       16      form. Object to the scope. And
    17 knowing your customer in the law and            17      he's not a lawyer.
    18 regulations, but you do see repeated            18          THE WITNESS: Again, without
    19 references to the concept in the final          19      giving a legal opinion, we have,
    20 decisions and orders issued relative to         20      as part of our program that we
    21 actions taken by DEA against registrants,       21      administer, our diversion control
    22 as well as in public training sessions by       22      program, a "know your customer"
    23 DEA.                                            23      component, which we exercise in
    24          Do you see that?                       24      order to accomplish due diligence.
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     1 BY MR. PIFKO:                                   1 with pharmacists and doctors.
     2     Q. Do you believe that's a                  2           Do you see that?
     3 necessary component of the program in           3      A. I do.
     4 order for it to be effective?                   4      Q. Did I read that correctly?
     5          MR. NICHOLAS: Object to the            5      A. You did.
     6     form. Object to the scope.                  6      Q. Is that a statement that you
     7          THE WITNESS: I believe that            7 made at the time?
     8     it's a requirement that we have at          8      A. It was.
     9     AmerisourceBergen, and it's one             9      Q. Did you present this to
    10     that we've had in place and it's           10 the -- at the conference, did you make
    11     part of our program.                       11 that statement at the conference?
    12 BY MR PIFKO:                                   12      A. I don't know if I made that
    13     Q. You don't have a position               13 precise statement. These are notes that
    14 about whether it's required?                   14 I used.
    15          MR. NICHOLAS: Object to the           15      Q. Do you believe these
    16     form. Object to the scope. Asked           16 statements to be true?
    17     and answered.                              17           MR. NICHOLAS: Object to the
    18          THE WITNESS: So, again, I             18      form.
    19     can't furnish a legal opinion.             19           But go ahead.
    20          What I can say is that I              20           THE WITNESS: I do.
    21     believe we have and should have a          21 BY MR PIFKO:
    22     "know your customer" component;            22      Q. When you say "the overall
    23     and we do have a "know your                23 tightening of the prescription opioid
    24     customer" component at our company         24 market has led to increased heroin

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     1      as part of the diversion control           1 abuse," what do you mean by that?
     2      program.                                   2       A. I think there's been several
     3 BY MR PIFKO:                                    3 actions that have been taken where it's
     4      Q. Let's go to Page 19.                    4 becoming more difficult for people to
     5          Are you there?                         5 receive prescription opioids over time.
     6      A. I am.                                   6 And there are a number of different
     7      Q. So the notes that you wrote             7 reasons why.
     8 here say, Final point, we must be mindful       8           I think that people who may
     9 of our actions in addressing the epidemic       9 be addicted and can no longer get a
    10 of prescription drug abuse. I will use         10 prescription opioid, can that cause them
    11 the relationship between prescription          11 to then go to the illegal market? I
    12 opioids and heroin as an example. When I       12 think it can. Has that caused folks to
    13 was overseeing the drug task force in          13 do that? I think it has.
    14 Charlotte ten years ago, there was a rise      14           I guess my only caveat here
    15 in the influence of Mexican DTOs in            15 is, I can't estimate to what extent that
    16 growing the heroin market. The issue was       16 this is -- where this is prevalent.
    17 overwhelming and the cross-culture of          17       Q. You thought this was a
    18 people that were using heroin amazed me.       18 significant enough point to make the
    19 Over the last couple of years, the             19 conclusion of your presentation, agree?
    20 overall tightening of the prescription         20           MR. NICHOLAS: Object to the
    21 opioid market has led to increased heroin      21       form.
    22 abuse. Having confronted both issues, I        22           THE WITNESS: I think it was
    23 believe that our chances for success are       23       one of many points I made during
    24 much better in the public arena working        24       the presentation.
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     1 BY MR PIFKO:                                    1     A. I do.
     2      Q. This was an impactful point             2     Q. In the interest of time, I
     3 you wanted to make at the end of the            3 won't necessarily read over all of it.
     4 presentation, agree?                            4     A. Okay.
     5          MR. NICHOLAS: Object to the            5     Q. But what does the company do
     6      form.                                      6 with this information?
     7          THE WITNESS: I think all of            7         MR. NICHOLAS: Object as to
     8      the information I provided during          8     form. And scope.
     9      the presentation was important for         9         THE WITNESS: So when we are
    10      the audience, including this              10     onboarding a customer, this
    11      information.                              11     information is collected during a
    12 BY MR PIFKO:                                   12     site visit. And then a member of
    13      Q. Mexican DTO, that just means           13     the team will receive this
    14 drug trafficking organization?                 14     information and they'll go through
    15      A. Correct.                               15     the form. We have a related form
    16      Q. Do you know who the sponsors           16     that's a checklist. We'll
    17 of NADDI are?                                  17     validate, to the extent possible,
    18      A. Not off the top of my head,            18     the contents of the form.
    19 I do not.                                      19         And so we would validate
    20      Q. Do you know if prescription            20     licenses, where we ask the
    21 drug manufacturers participate in that         21     questions. We would collect
    22 organization?                                  22     information relative to certain
    23          MR. NICHOLAS: Object to the           23     estimates of drug usage. We would
    24      form. Objection. Asked and                24     ask about prior disciplinary
                                           Page 263                                           Page 265
     1      answered.                                  1      action. And we would then, you
     2          THE WITNESS: I know that               2      know -- again, use public
     3      there are participants both from           3      resources to collect and validate
     4      the private and public sector.             4      the information that's on the
     5 BY MR PIFKO:                                    5      form, wherever possible; go to the
     6      Q. Let's go back to Slide 5.               6      various boards, Board of Pharmacy,
     7 This is the Form 590.                           7      boards of medicine, if we have
     8          Is the Form 590 an important           8      physician information, check for
     9 part of AmerisourceBergen's diversion           9      prior disciplinary action.
    10 control program?                               10          And after that process is
    11          MR. NICHOLAS: Object to the           11      complete, we would make a decision
    12      form. Objection as to scope.              12      whether we wanted to continue with
    13          THE WITNESS: I would say              13      the onboarding of the prospective
    14      that all aspects of our program           14      customer.
    15      are important. I couldn't -- I            15 BY MR PIFKO:
    16      couldn't categorize this as more          16      Q. Is there any effort, within
    17      or less important than other              17 the time frame that you're the 30(b)(6)
    18      facets of our program. It's               18 witness, to update that information after
    19      another facet of our program.             19 a customer is onboarded?
    20 BY MR PIFKO:                                   20      A. There are times that we
    21      Q. So this talks about the                21 update this information, yes. There may
    22 types of information that are sought in        22 be changes at the location. If there is
    23 the form.                                      23 a change of address, of course that would
    24          Do you see that?                      24 affect the license of the location, so we


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     1 would need to update that information.         1  BY MR PIFKO:
     2          If there was a change of              2       Q. You then say, To that end, a
     3 ownership and the location didn't move,         3 wholesaler is responsible for knowing the
     4 but we needed to get the new information        4 customer and monitoring the controlled
     5 on ownership. And we would also do it on        5 substances and listed chemicals shipped
     6 an as-needed bases. For example, if we          6 to that customer, rejecting and reporting
     7 were involved with the customer, in terms       7 suspicious orders.
     8 of trying to mitigate some red flag             8          Do you see that?
     9 information, we may request an updated          9      A. I do.
    10 form.                                          10      Q. Do you agree with that
    11      Q. Let's turn to Slide 17.                11 statement?
    12          I'll read you from the notes          12          MR. NICHOLAS: Object to the
    13 here. This is -- the image on Slide 17         13      form.
    14 is an image of The Controlled Substances       14          THE WITNESS: I agree with
    15 Act closed system of distribution, agree?      15      the statement.
    16      A. Yes.                                   16             - - -
    17      Q. You have a statement here              17          (Whereupon,
    18 that says, I truly believe that if we all      18      AmerisourceBergen-May Exhibit-11
    19 live up to our individual                      19      ABDCMDL 00140843-44, was marked
    20 responsibilities and obligations, we will      20      for identification.)
    21 collectively have a huge, positive impact      21            - - -
    22 on the prescription abuse issue. On the        22 BY MR. PIFKO:
    23 other hand, any weak links in the system       23      Q. I'm handing you what is
    24 will cause all of us to become less            24 marked as Exhibit-11. For the record,

                                           Page 267                                         Page 269
     1 effective.                                     1  it's a two-page document, Bates labeled
     2          Do you see that?                      2  ABDCMDL 00140843 through 44.
     3      A. I do.                                   3          Have you seen this before?
     4      Q. Do you agree with that                  4       A. Not directly on here. But I
     5 statement?                                      5 am included on distribution to CSRA OMP,
     6          MR. NICHOLAS: Object to the            6 and so I have some recollection of this
     7      form.                                      7 e-mail.
     8          THE WITNESS: I do. And I               8       Q. Well, let's just talk
     9      guess in the context, again, of            9 generally. You can put this document
    10      this meeting, if we start to make         10 aside for a minute.
    11      this a full statement, and, I             11       A. Sure.
    12      guess, just as a point of                 12       Q. Do you recall there being
    13      demonstrating our consistency, you        13 issues with deficiencies with the Form
    14      know, we all -- registrants have          14 590s?
    15      regulations from requirements             15       A. I do recall, generally
    16      imposed upon us by virtue of our          16 speaking, there have been some occasions
    17      role in the system. I think I've          17 where we'll have forms where they are not
    18      answered that several times today.        18 completely legible, and there may have
    19          And I believe that if we all          19 also been occasions where not all of the
    20      live up to those roles, we'll             20 responses were provided.
    21      collectively have a positive              21       Q. And the company was
    22      impact. I believe that to be              22 undertaking efforts to try to address
    23      true, and I think I've been pretty        23 these deficiencies in 2016; is that
    24      consistent about that.                    24 correct?


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     1          MR. NICHOLAS: Object to the               1        A. Yes.
     2     form of the question, as it wasn't             2        Q. It says here that, Over the
     3     his testimony.                                  3 past several months, the CSRA diversion
     4          Go ahead.                                  4 control team -- that's your team,
     5          THE WITNESS: Again, I guess                5 correct?
     6     I'll comment that, generally                    6       A. Yes.
     7     speaking, we're always trying to                7       Q. -- has been working on the
     8     be vigilant to maintain our                     8 CSRA 590 validation project. This
     9     processes. So I wouldn't identify               9 project was initiated to validate that
    10     it as any particular time. It's                10 all current ABDC customers authorized to
    11     an ongoing process.                            11 purchase controlled substances have the
    12             - - -                                  12 required due diligence documentation in
    13          (Whereupon,                               13 file.
    14     AmerisourceBergen-May Exhibit-12,              14          Do you see that?
    15     ABDCMDL 00159415-16, was marked                15       A. Yes.
    16     for identification.)                           16       Q. Do you agree that that was
    17            - - -                                   17 what the project was?
    18 BY MR PIFKO:                                       18          MR. NICHOLAS: Object to the
    19     Q. I'm handing you what's                      19       form.
    20 marked as Exhibit-12. This document is             20          THE WITNESS: Yes.
    21 Bates labeled ABDCMDL 00159415 and 16.             21 BY MR PIFKO:
    22          Have you seen this document               22       Q. It says, The first phase of
    23 before?                                            23 this project was to conduct a full review
    24          And you can continue to                   24 of every ABDC customer authorized to

                                               Page 271                                          Page 273
     1 review it, I'm just trying to speed                1  purchase controlled substances and
     2 things along for everybody.                        2  identify any with deficiencies.
     3      A. I have, yes.                                3          Did I read that right?
     4      Q. Do you know what this is?                   4      A. Yes.
     5      A. It's an e-mail string                       5      Q. This initial phase has been
     6 regarding the CSRA 590 validation                   6 completed, and a substantial number of
     7 project.                                            7 customers have been identified who will
     8      Q. And the e-mail in the bottom                8 be required to have their 590
     9 of the first page, you are cc'd on there,           9 documentation updated. See attached
    10 correct?                                           10 spreadsheet.
    11      A. Yes.                                       11          Do you see that?
    12      Q. It's dated August 5th, 2016,               12      A. I do.
    13 correct?                                           13      Q. Then you write back
    14      A. Correct.                                   14 approximately a year later.
    15      Q. Do you recall receiving this               15          Do you see the top e-mail
    16 e-mail?                                            16 from you dated July 7th, 2017?
    17      A. I recognize the content and                17      A. Yes.
    18 recall the e-mail.                                 18      Q. And you say, All, I wanted
    19      Q. When was the last time you                 19 to check in with you on the progress
    20 saw this e-mail?                                   20 being made on this project.
    21      A. I haven't seen it recently.                21 Unfortunately, as of this writing, we
    22 Probably at that time.                             22 have only received about 10 percent of
    23      Q. Is this a true and correct                 23 the required customer due diligence
    24 copy of the e-mail?                                24 documents. If you recall, we originally


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     1 set a June 30th -- set June 30th as a           1   agree?
     2 completion date for the continued -- let        2           MR. NICHOLAS: Object to the
     3 me start over on that sentence.                 3       form as to his agreeing as to what
     4          If you recall, we originally            4      you were trying to point out.
     5 set June 30th as a completion date and           5          THE WITNESS: I understood
     6 the continued deficiency puts us at risk         6      that part of your question.
     7 with regulators.                                 7          But I didn't want to, again,
     8          Do you see that?                        8      leave the impression that an
     9      A. I do.                                    9      e-mail was sent on August 5th and
    10      Q. Do you agree with that                  10      then I didn't respond until a year
    11 statement?                                      11      later.
    12          MR. NICHOLAS: Object to the            12 BY MR PIFKO:
    13      form.                                      13      Q. I didn't think that that was
    14          THE WITNESS: Yes.                      14 the case.
    15 BY MR PIFKO:                                    15              - - -
    16      Q. And you wrote that in this              16          (Whereupon,
    17 e-mail?                                         17      AmerisourceBergen-May Exhibit-13,
    18      A. Yes.                                    18      Tab Printout; Sales Assignment,
    19      Q. Do you know how many 590                19      was marked for identification.)
    20 forms were missing or had missing               20             - - -
    21 information?                                    21 BY MR PIFKO:
    22      A. I believe there was                     22      Q. I just put in front of you
    23 approximately 3,000.                            23 Exhibit-13.
    24          But I do want to get back to           24          You see that this e-mail
                                            Page 275                                          Page 277
     1 one thing while you were reading there.         1  references having an attachment of a 590
     2 You stated, when you started reading the        2  validation master spreadsheet --
     3 second part of this e-mail, that almost a        3      A. Yes.
     4 year later I responded. And I just want          4      Q. -- dated July 28th, 2016?
     5 to address that.                                 5          Do you see that? You've got
     6          This was an e-mail that was             6 to go to Exhibit-12, if you look at the
     7 sent to sales executives. I don't want           7 header of the e-mail.
     8 to leave you with the impression that            8      A. Yes. Attachment. I see it.
     9 there were not other multiple e-mails            9      Q. So if you go over to
    10 related to this e-mail and dispel that          10 Exhibit-13, there were three tabs in the
    11 notion that there was this one e-mail and       11 document, or four tabs. This is one of
    12 then there was this one e-mail to these         12 the tabs, it's called, Sales Assignment.
    13 sales executives.                               13          Do you know what this tab
    14          I don't know what other                14 reflects?
    15 e-mails are out there, but I know that          15          MR. NICHOLAS: Where is the
    16 there was a lot of communication relative       16      tab? I'm sorry.
    17 to this project.                                17          MR PIFKO: It was produced
    18      Q. Okay. Understood.                       18      natively, but what we do when we
    19          All I wanted to point out              19      produce these is Bates label -- to
    20 with the year date difference is that           20      use it as an exhibit, the Bates
    21 we're a year later, and that a year later       21      label is at the top and the tab is
    22 after sending the original e-mail about         22      on a footer on the bottom.
    23 this project, only 10 percent of the            23          THE WITNESS: Again, in the
    24 required documents had been obtained,           24      context of this e-mail, and this
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     1      being represented as one of the          1      revolved around finding situations
     2      attachments, this appears to be a        2      where we didn't have the
     3      list, in the left column, customer        3     documentation in the file. And
     4      DEA number. And we tracked the            4     that's what was the focus of the
     5      DEA registration.                         5     file.
     6           And then it tells the                6          So that's the first --
     7      various sales folks that are              7 BY MR PIFKO:
     8      assigned to the registration. And         8     Q. What's the difference
     9      that would have been produced to          9 between not having the information and it
    10      help us organize this work.              10 not being in the file?
    11 BY MR PIFKO:                                  11          MR. NICHOLAS: Object to the
    12      Q. And this is a list of all             12     form.
    13 the customers whose Form 590 was missing,     13 BY MR PIFKO:
    14 correct, or --                                14     Q. If it's not in the file, you
    15           MR. NICHOLAS: Object to the         15 don't have the information, agree?
    16      form.                                    16          If I don't have anything in
    17 BY MR. PIFKO:                                 17 my hand, I don't have anything in my
    18      Q. -- had deficient                      18 hand.
    19 information?                                  19     A. So --
    20           MR. NICHOLAS: Object to the         20          MR. NICHOLAS: Object to the
    21      form.                                    21     form.
    22           THE WITNESS: Again, I know          22          THE WITNESS: So, again, I
    23      we compiled the list. I know we          23     just want to make sure that we
    24      keep a spreadsheet of it. I'm not        24     understand the context of the
                                          Page 279                                          Page 281
     1    sure, in looking at this, you              1     project.
     2    know, multi-page document, if this         2         And that is that we
     3    is an accurate description.                 3    identified a number of accounts
     4        I guess what I'll say is                4    where we couldn't locate the
     5    that -- well, a couple of things            5    information.
     6    that I want to put in context               6        My point there is I'm not
     7    here.                                       7    acknowledging that there were not
     8        First, in terms of this work            8    due diligence efforts made in
     9    itself, and maybe I misinterpreted          9    documentation collected. At the
    10    your question, but this would              10    time of this review, we couldn't
    11    represent -- this project would            11    find that information. And that's
    12    represent cases where we could not         12    what this project involved.
    13    locate due diligence files, in             13        So that's just to put this
    14    terms of our customer base, and as         14    in context.
    15    a result of that, where we could           15        The second part, again, do
    16    not locate those due diligence             16    these represent a part of or the
    17    files, we initiated this project.          17    totality of those accounts, I
    18        And I guess that's                     18    can't say by looking at this
    19    important, I guess, to realize             19    stack.
    20    as -- I don't want to leave the            20 BY MR PIFKO:
    21    impression that we didn't have due         21    Q. Is that stack pretty large?
    22    diligence for these customers. I           22        MR. NICHOLAS: Object to the
    23    want to make sure that we all              23    form.
    24    understand that this project               24        THE WITNESS: Again, I think
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     1     you asked a question about how              1  deficiencies have been remedied as of May
     2     many accounts there were. I                 2  29th, 2018?
     3     think, to my recollection, there             3          MR. NICHOLAS: Object to the
     4     were roughly 3,000 when we                   4      form.
     5     initiated that, to the best of my            5          THE WITNESS: I think the
     6     recollection.                                6      project, in terms of its
     7 BY MR PIFKO:                                     7      completion -- and, again, I have
     8     Q. That stack of customers,                  8      to estimate this -- is in the 60
     9 though, how thick is that in front of            9      percent range of completion, but
    10 you?                                            10      that's the best of my knowledge,
    11          MR. NICHOLAS: Well, object             11      just sitting here today with no
    12     to the form.                                12      documentation.
    13 BY MR PIFKO:                                    13 BY MR PIFKO:
    14     Q. Can you hold it up?                      14      Q. At the present time, your
    15     A. It's about an inch thick, I              15 estimate, based on your involvement with
    16 guess.                                          16 the project, is that there's still about
    17     Q. Can you hold it up?                      17 40 percent of them that have not been
    18     A. Sure.                                    18 rectified yet?
    19          MR. NICHOLAS: Objection.               19          MR. NICHOLAS: Object to the
    20     Object to the form.                         20      form.
    21 BY MR PIFKO:                                    21          THE WITNESS: That's my best
    22     Q. Thank you.                               22      estimate, based upon my
    23          MR. NICHOLAS: Showboating.             23      recollection.
    24 BY MR PIFKO:                                    24 BY MR PIFKO:

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     1      Q. If I tell you that the                  1       Q. Thank you.
     2 number of files where you could not             2       A. But I think I'm in the
     3 obtain the due diligence information as          3 ballpark.
     4 of 2016, the number of customers was             4      Q. Do you know when the Form
     5 3,285, would you agree with me?                  5 590 process was implemented?
     6          MR. NICHOLAS: I'll object               6      A. Not precisely when.
     7      to the form. The witness has                7 Approximately when, I believe it was
     8      already given testimony on this.            8 around 2007, in terms of that particular
     9      But I'll object to the form of the          9 form. There may have been predecessors
    10      question.                                  10 that I can't comment on.
    11          THE WITNESS: My response               11          I'm not the best person to
    12      was I think there was                      12 talk about what the due diligence efforts
    13      approximately 3,000, so I think            13 looked like prior to then.
    14      that's pretty consistent.                  14             - - -
    15 BY MR PIFKO:                                    15          (Whereupon,
    16      Q. So did you continue to                  16      AmerisourceBergen-May Exhibit-14,
    17 obtain this -- attempt to obtain this           17      ABDCMDL 00002232, was marked for
    18 information over the years?                     18      identification.)
    19      A. Yes.                                    19            - - -
    20      Q. Do you know what the status             20 BY MR PIFKO:
    21 of this project was as of 2017?                 21      Q. I'm handing you what's
    22      A. I cannot say definitively               22 marked as Exhibit-14.
    23 what the status was in 2017.                    23          For the record, this is a
    24      Q. Do you know if these                    24 one-page document Bates labeled ABDCMDL


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     1 00002232. It's some e-mails dated               1 Pharma. And I'm guessing, from the
     2 December 9th, 2016.                             2 context here I'm seeing as you just read
     3            Let me know when you're done         3 it, Eric is stating that he doesn't know
     4 reviewing this.                                 4 how they provide the information. But
     5      A. Okay.                                   5 from the lower e-mail, it looks like it's
     6      Q. Have you seen this e-mail               6 generated from media reporting.
     7 before?                                         7       Q. Do you recall getting this
     8      A. I have, during -- I guess it            8 list and doing anything with it?
     9 would be December 9th, 2016.                    9           MR. NICHOLAS: Object to the
    10      Q. Do you recall the discussion           10       form of the question. Asked and
    11 in this e-mail?                                11       answered.
    12      A. Generally, based upon the              12           THE WITNESS: So, yeah, just
    13 content.                                       13       to repeat my response, I don't
    14      Q. Is this a true and correct             14       know whether we did or did not get
    15 copy of the e-mail?                            15       a copy of that list.
    16      A. Yes.                                   16           I do know, as part of our
    17      Q. Can you tell me about what's           17       program, we do maintain a -- what
    18 discussed in the e-mail here?                  18       we refer to as a suspect
    19            MR. NICHOLAS: Object to the         19       subscriber list, which is distinct
    20      form.                                     20       from this list. I don't know if
    21            THE WITNESS: You know,              21       Eric added this information to
    22      according to the content here that        22       that list or not at this point.
    23      I'll rely upon, it's an exchange          23 BY MR PIFKO:
    24      between a member of Purdue's              24       Q. The suspect subscriber list,
                                           Page 287                                           Page 289
     1       compliance group and Eric                 1 can you tell me what that is?
     2       Cherveny, who works on our                2      A. Again, when we receive
     3       diversion control team, about             3 information relative to doctors, we
     4       media reports relative to                 4 receive the DEA reports, the register
     5       physicians.                               5 reports, as they come out, where DEA
     6 BY MR PIFKO:                                    6 announces their actions they've taken
     7       Q. Eric says, FYI, Purdue                 7 against practitioners.
     8 Pharma sends me this list periodically.         8          So if we were to receive one
     9 It's a list that Purdue maintains               9 of those reports where they've taken an
    10 regarding prescriber action. Not sure          10 action against a practitioner, we would
    11 how they collect the data. Yellow              11 add that information to the list so that
    12 highlighting indicates new action since        12 in doing our due diligence, if we came
    13 the last submission. Blue highlighting         13 across those doctors, we would have that
    14 indicates a physician who was on a             14 information.
    15 previous report but who has had                15      Q. Does AmerisourceBergen --
    16 subsequent action. We need to discuss if       16 sorry.
    17 we're going to use this list and, if so,       17          With respect to the suspect
    18 how.                                           18 subscriber list, do you know when that
    19            Do you see that?                    19 effort to collect that list was
    20       A. I do.                                 20 initiated?
    21       Q. Do you recall getting this            21          MR. NICHOLAS: Objection
    22 list from Purdue Pharma?                       22      only as to scope.
    23       A. I do not recall whether we            23          THE WITNESS: Previous to my
    24 did or did not get that list from Purdue       24      arrival. It was -- to my
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     1      recollection, it existed when I            1     broadcasting, to our customers in
     2      arrived.                                   2     particular areas. Again, I don't
     3 BY MR PIFKO:                                     3    even know how we would do that.
     4      Q. With respect to the suspect              4        And I guess along that
     5 subscriber list, do you know if it was           5    point, the obligation of the
     6 AmerisourceBergen's practice to inform           6    pharmacist really is preeminent
     7 customers in the area where the suspect          7    when it comes to knowing the
     8 prescribers were about these physicians          8    physicians for whom he's filling
     9 and that they shouldn't fill                     9    prescriptions under his
    10 prescriptions from them if they had their       10    corresponding responsibility.
    11 licenses revoked?                               11        So, again, that would be an
    12           MR. NICHOLAS: Objection as            12    area that, as a wholesale
    13      to scope.                                  13    distributor, you know, that's --
    14           THE WITNESS: Well, the                14    that's within the responsibility
    15      answer is no. And I'm not even             15    of the pharmacist, in my view.
    16      sure how we would do that.                 16 BY MR PIFKO:
    17 BY MR PIFKO:
    18      Q. How about with respect to
    19 this list that Purdue Pharma sent you,
    20 was there ever any effort to communicate
    21 the company's knowledge of these
    22 prescribers of concern identified by
    23 Purdue to customers in the area where
    24 these physicians were?

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     1           MR. NICHOLAS: Objection to
     2      the form of the question. The
     3      witness has twice said he doesn't
     4      know whether they received the
     5      list or not. So I don't want
     6      there to be a misleading record
     7      here.
     8           THE WITNESS: Same response.
     9      I'm not sure what the outcome of
    10      this e-mail string was relative to
    11      the list provided by Purdue at
    12      this time.
    13 BY MR PIFKO:
    14      Q. Well, if there was a
    15 practice of sharing it with your
    16 customers, you would be aware of that,
    17 right?
    18           MR. NICHOLAS: Object to the
    19      form.
    20           THE WITNESS: I'm not
    21      aware -- again, I've answered the
    22      question.
    23           But I'm not aware of us
    24      sharing information, through some
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                                                  1   or maybe it was four different
                                                  2   tabs.
                                                  3       MR. CLUFF: I believe it's
                                                  4   four tabs.
                                                  5       MR. NICHOLAS: Okay. We
                                                  6   have gone back, on the break, we
                                                  7   have not talked to the witness
                                                  8   about this, and checked the tabs
                                                  9   and checked the stack of -- the
                                                 10   stack of -- that you displayed,
                                                 11   that you gave him, that purports
                                                 12   to represent the 3,000 files.
                                                 13       This stack is a stack of
                                                 14   approximately 13,000 files. It is
                                                 15   not -- it does not display the
                                                 16   3,000 that you discussed. The
                                                 17   3,000 that you discussed are
                                                 18   contained in Tabs 1 and Tabs 2,
                                                 19   which are identified as a red tab
                                                 20   and a blue tab. If you print
                                                 21   those out and add them up, it does
                                                 22   appear to be about 3,000 or so.
                                                 23       So what I'm seeing is that
                                                 24   you gave him a list -- a stack of
                                      Page 295                                         Page 297
                                                  1   13,000, which does not represent
     2        MR. PIFKO: We're going to           2   what you said it did; you asked
     3    take a short break.                     3   him questions about it; and then
     4        VIDEO TECHNICIAN: Going off         4   you even had him hold it up on
     5    the record. 3:30 p.m.                   5   camera.
     6            - - -                           6       Now, I'm going to ask you to
     7        (Whereupon, a brief recess          7   withdraw the line of questioning.
     8    was taken.)                             8       MR. PIFKO: I will not
     9           - - -                            9   withdraw the line of questioning.
    10        VIDEO TECHNICIAN: We're            10       MR. NICHOLAS: And I will
    11    back on record at 3:44 p.m.            11   ask you to correct the record.
    12        MR. NICHOLAS: There was            12       MR. PIFKO: We can meet and
    13    testimony in the previous set of       13   confer about it after this
    14    questions about a list of --           14   deposition.
    15    concerning a list of due diligence     15       MR. NICHOLAS: Wait a
    16    files that were missing or not         16   minute. Hold on.
    17    available. And there was               17       MR. PIFKO: I do not know
    18    testimony about the fact that          18   the facts that you are
    19    there was approximately 3,000 such     19   representing to be true.
    20    documents -- 3,000 such files.         20       MR. NICHOLAS: We can check
    21        There was also testimony           21   right now. We have it right here.
    22    about the fact that these files        22   I can show it to you in two
    23    were contained or illustrated or       23   seconds. I have the tabs.
    24    displayed on three different tabs,     24       MR. PIFKO: We can do it off
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     1    the record. I'll be happy to look          1     volition, what it is or isn't.
     2    at it off the record.                      2         MR. NICHOLAS: Okay. Let's
     3         If you want to go off the             3     make sure the record is clear.
     4    record, I can take a look.                 4         MR. PIFKO: It's -- I'm
     5         MR. NICHOLAS: Let's go off            5     taking this deposition. You're
     6    the record, and you'll take a look         6     not talking anymore.
     7    and then you tell me what you want         7         MR. NICHOLAS: No, no. I'm
     8    to do about it.                            8     going to talk, okay?
     9         VIDEO TECHNICIAN: Going off           9 BY MR. PIFKO:
    10    the record. 3:46 p.m.                     10     Q. Sir, I'm going to hand you
    11            - - -                             11 Exhibit --
    12         (Whereupon, a discussion off         12         MR. NICHOLAS: I'm going to
    13    the record occurred.)                     13     talk. Because you haven't let
    14           - - -                              14     me -- we went off the record so
    15         VIDEO TECHNICIAN: We're              15     you --
    16    back on record at 3:58 p.m.               16         MR. PIFKO: No. No. We're
    17         MR. PIFKO: Let me represent          17     done. You are not talking during
    18    that when we went off the record,         18     this deposition. I am taking this
    19    counsel for defendants is stating         19     deposition, okay?
    20    things to be facts, based on their        20         MR. NICHOLAS: We went off
    21    research of documents, in front of        21     the record so we could show you
    22    the witness and trying to                 22     the basis for why I'm saying --
    23    influence the outcome of this             23         MR. PIFKO: And you did not
    24    deposition and making accusations         24     show an adequate basis.
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     1    about improper conduct that we, in         1         MR. NICHOLAS: Well, that's
     2    his mind, allegedly did.                   2    what you say. You looked at it.
     3        I can assure you that we had           3         Now, what you're telling
     4    no intention to misrepresent a             4    me --
     5    document or the record. We asked           5         MR. PIFKO: And did all of
     6    the witness what it was.                   6    this in front of the witness.
     7        And to be frank with you, if           7    This is totally improper.
     8    you want to cross -- or if you             8         MR. NICHOLAS: I'm going to
     9    want to direct examine your                9    ask you --
    10    witness about something                   10         MR. PIFKO: I'm not
    11    afterwards, that is the                   11    listening to you. It's my
    12    appropriate way to handle it.             12    deposition. You need to be quiet.
    13        And what you've done by               13         If you want to meet --
    14    making these statements about what        14         MR. NICHOLAS: Hold on.
    15    facts you believe to be true in           15    Hold on.
    16    front of the witness and in front         16         MR. PIFKO: If you want to
    17    of all counsel here in the room is        17    meet and confer with me about
    18    you have tainted the process and          18    something after this deposition,
    19    you testified and you created             19    I'll be happy to listen to you.
    20    facts.                                    20         MR. NICHOLAS: Listen to
    21        And that -- you are done              21    your question before you say that.
    22    with this whole thing. You lost           22    Listen to the question you asked
    23    your opportunity to get the               23    on the record.
    24    witness to say, on his own                24         MR. MAHADY: Question: And
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     1    this is a list of all --                  1   4 and ignored the summary?
     2         MR. PIFKO: You're                    2        MR. PIFKO: We had the
     3    continuing to influence the               3   summary. And I just read him the
     4    process --                                4   summary, and I asked him if that
     5         MR. MAHADY: -- incorrect or          5   was the number. I read the exact
     6    deficient --                              6   number, you all heard it, 3,285.
     7         MR. NICHOLAS: I'll read it.          7   That was the number. I asked him
     8         Question by you, Mr. Pifko:          8   if that was the number.
     9    And this is all -- and this is a          9        MR. NICHOLAS: Yes. We're
    10    list of all the customers whose          10   all agreeing that there were
    11    Form 590 was missing, correct? Or        11   approximately -- the record says
    12    had deficient information?               12   what it says --
    13         MR. PIFKO: And then I asked         13        MR. PIFKO: Right. So
    14    him, is that true?                       14   there's no --
    15         And he can say whatever he          15        MR. NICHOLAS: -- which is
    16    can say. If I'm wrong, I'm wrong.        16   approximately 3,000 files.
    17    He can say whatever he said. He          17        MR. PIFKO: So there's no --
    18    answered.                                18   there's no problem with the
    19         I didn't -- I can't put             19   record.
    20    facts into his mind.                     20        MR. NICHOLAS: You gave him
    21         MR. NICHOLAS: You                   21   a stack of 13,000 --
    22    deliberately --                          22        MR. PIFKO: There's no
    23         MR. PIFKO: I did not                23   problem with the record.
    24    deliberately do anything.                24        MR. NICHOLAS: -- and asked
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     1         MR. NICHOLAS: Not only did           1   him if that is the list of 3,000.
     2    you deliberately print the wrong          2       MR. CLUFF: Let me just ask
     3    list, but then you had him hold           3   one question here.
     4    the list up.                              4       Do you agree that that is a
     5         MR. PIFKO: You have no               5   tab from the spreadsheet in
     6    evidence I deliberately printed           6   question?
     7    anything.                                 7       MR. NICHOLAS: It is the
     8         MR. NICHOLAS: Are you                8   wrong -- no.
     9    denying it?                               9       MR. CLUFF: I'm asking just
    10         MR. PIFKO: Yes. I did not           10   for foundation.
    11    deliberately --                          11       That's not in the tab?
    12         MR. NICHOLAS: Are you               12       MR. NICHOLAS: No.
    13    denying that you did not know --         13       MR. CLUFF: That's not in
    14    you did not know this is the wrong       14   the spreadsheet?
    15    list?                                    15       MR. MAHADY: It's in the
    16         MR. PIFKO: I did not                16   spreadsheet and there's a summary.
    17    deliberately do anything here.           17       MR. NICHOLAS: There were --
    18         MR. NICHOLAS: Do you agree          18       MR. PIFKO: That's what I'm
    19    this is the wrong list?                  19   asking, it was in the spreadsheet.
    20         MR. PIFKO: No. Based on             20       MR. NICHOLAS: -- four tabs.
    21    what you've shown, I do not know         21   There were four tabs.
    22    that that's the wrong list.              22       MR. PIFKO: It doesn't
    23         MR. MAHADY: So you skipped          23   matter --
    24    the first three tabs, went to Tab        24       MR. NICHOLAS: There were
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     1    four tabs. And you gave him the           1   to get out of here. It's a
     2    wrong one.                                2   Saturday --
     3         MR. CLUFF: And we printed            3       MR. NICHOLAS: No, I know we
     4    all four of them.                         4   are going seven hours, there's no
     5         MR. NICHOLAS: And you're             5   question about that. We went
     6    taking the wrong one --                   6   seven hours yesterday and we're
     7         MR. CLUFF: We were prepared          7   going seven today.
     8    to ask the witness further                8       I'm not trying to harass --
     9    questions --                              9       MR. PIFKO: If I go seven
    10         MR. NICHOLAS: You                   10   hours, that's my right, okay? I'd
    11    deliberately --                          11   like to be done as soon as I can
    12         MR. CLUFF: You told us that         12   as well, okay? And this time
    13    that was not the list. You did           13   arguing does not count towards the
    14    not tell us that was not the list.       14   record.
    15    That's the record.                       15       If it would make you feel
    16         MR. MAHADY: You skipped the         16   better, I would be happy to show
    17    first three --                           17   him the other tabs. The numbers
    18         MR. CLUFF: You say what you         18   he discussed are the numbers.
    19    want.                                    19   That's the fact.
    20         MR. MAHADY: -- tabs and             20       MR. NICHOLAS: I'm not --
    21    went right to Tab 4.                     21       MR. PIFKO: So it doesn't
    22         MR. CLUFF: This is                  22   make any difference.
    23    discovery, Zach.                         23       MR. NICHOLAS: -- saying
    24         MR. MAHADY: If you have the         24   anything about the numbers. I'm
                                        Page 307                                      Page 309
     1    other three, show him the list.           1   talking about this BS display that
     2    If you have the other three tabs,         2   you made to the jury.
     3    show him the other three tabs.            3       MR. PIFKO: That's not -- do
     4        MR. CLUFF: You are free to            4   you agree or disagree that that is
     5    show him the other tabs. We asked         5   a document that was attached to
     6    him a line of questions about the         6   that e-mail? Did we misrepresent
     7    tab that we wanted to talk about          7   that that's part of the e-mail,
     8    to begin with.                            8   that that's part of the
     9        His testimony was that was            9   attachment?
    10    the tab, when he was asked, of the       10       MR. NICHOLAS: Mark, there's
    11    customers.                               11   an unlimited number of documents
    12        MR. NICHOLAS: You poisoned           12   in the world, you can throw to
    13    the record.                              13   someone. So what? You have --
    14        MR. PIFKO: No, you did,              14       MR. PIFKO: Is that --
    15    okay?                                    15       MR. NICHOLAS: You gave him
    16        MR. NICHOLAS: You poisoned           16   the wrong document. And you did
    17    the record. You guys poisoned the        17   it on purpose.
    18    record by deliberately giving him        18       MR. PIFKO: Is that a
    19    the wrong thing.                         19   document that was attached from
    20        MR. PIFKO: If it makes you           20   that spreadsheet; yes or no?
    21    feel better, I will hand him the         21       MR. NICHOLAS: It's the
    22    other tabs. I was honestly trying        22   wrong spreadsheet, as you well
    23    to be quick. You've mentioned on         23   know.
    24    multiple occasions that you want         24       MR. CLUFF: It's not the
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     1    wrong spreadsheet.                          1    you make an honest record.
     2         MR. PIFKO: No, it's not the            2        You're big on let's have a
     3    wrong spreadsheet.                          3    clean record, let's get answers to
     4         MR. NICHOLAS: It's the                 4    questions.
     5    wrong part of the spreadsheet,              5        MR. PIFKO: I am.
     6    which you knew.                             6        MR. NICHOLAS: Do you want
     7         MR. PIFKO: It's part of the            7    real answers?
     8    spreadsheet --                              8        MR. PIFKO: Your witness has
     9         MR. NICHOLAS: Look, guys,              9    been dodging the questions all
    10    you do you agree that this list of         10    day.
    11    13,000 -- 13,000 files is not the          11        MR. NICHOLAS: Do you want
    12    list of the 3,000 you were asking          12    straight stuff or not?
    13    him about?                                 13        MR. PIFKO: I do.
    14         MR. PIFKO: You                        14        MR. NICHOLAS: Do you want
    15    completely --                              15    to be straight or not?
    16         MR. NICHOLAS: Right?                  16        MR. PIFKO: I do.
    17         MR. PIFKO: You                        17        MR. NICHOLAS: This is
    18    completely --                              18    not --
    19         MR. NICHOLAS: You know                19        MR. PIFKO: I do want to be
    20    this, why don't you just correct           20    straight.
    21    the record?                                21        MR. NICHOLAS: -- playing it
    22         MR. PIFKO: You completely             22    straight. This is not just
    23    bungled the attempt to correct the         23    playing it straight, guys, and you
    24    record by disclosing all of this           24    know it.
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     1    in front of the witness.                    1         MR. PIFKO: We're going to
     2         MR. NICHOLAS: I don't think            2    move on.
     3    so, Mark.                                   3         MR. NICHOLAS: So you're not
     4         MR. PIFKO: Yes, you did.               4    going to do anything? You're not
     5    We could have fixed it. But you             5    going to correct the record?
     6    screwed it all up, and now we               6         MR. PIFKO: I'm going to
     7    can't do it because you disclosed           7    move on and ask the questions that
     8    it in front of the witness.                 8    I want to ask. This is my
     9         MR. NICHOLAS: We can fix               9    deposition.
    10    it. You can --                             10 BY MR. PIFKO:
    11         MR. PIFKO: No.                        11    Q. I'm handing you what is
    12         MR. NICHOLAS: It's very               12 marked --
    13    easy to fix. You show him the              13         MR. NICHOLAS: So for the
    14    correct -- show him the correct            14    record --
    15    spreadsheets, and you say, I               15 BY MR. PIFKO:
    16    showed you the wrong spreadsheet           16    Q. -- Exhibit-15.
    17    before, I'd like --                        17         MR. NICHOLAS: For the
    18         MR. PIFKO: Again, now                 18    record, counsel is refusing to
    19    you're telling him what to say.            19    correct the record, knowing that
    20    You're walking us through the              20    it's inaccurate and knowing --
    21    conversation in front of the               21         MR. PIFKO: I do not have
    22    witness.                                   22    any information --
    23         MR. NICHOLAS: No, no, no.             23         MR. NICHOLAS: Knowing that
    24    I'm telling you what to say, so            24    he put an inaccurate document
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     1      that's not only misleading, but a          1      witness to hold this up --
     2      wrong document, in front of the            2          MR PIFKO: Stop making false
     3      witness.                                   3      accusations.
     4              - - -                              4          MR. NICHOLAS: In case
     5           (Whereupon,                           5      anyone asks the witness to hold up
     6      AmerisourceBergen-May Exhibit-15,          6      this stack of paper, half of it is
     7      Tab Printout, was marked for               7      blank. Half of these page are
     8      identification.)                           8      blank.
     9             - - -                               9 BY MR PIFKO:
    10 BY MR. PIFKO:                                  10      Q. Have you seen this -- have
    11      Q. Sir, I want to direct you              11 you seen this document before,
    12 back --                                        12 Exhibit-15?
    13           MR. NICHOLAS: We reserve             13      A. I'm not familiar with this
    14      all rights on this.                       14 document.
    15 BY MR. PIFKO:                                  15      Q. You were -- you did receive
    16      Q. I want to direct you back to           16 the e-mail attaching it, correct? We
    17 Exhibit-14, which was the prescriber           17 established that earlier?
    18 action document that Purdue sent to            18          MR. NICHOLAS: Object to the
    19 AmerisourceBergen.                             19      form. You're representing that
    20           Do you recall discussing             20      this was attached to the e-mail.
    21 that?                                          21      He just said he's never seen the
    22      A. Yes.                                   22      document.
    23      Q. And your counsel, again,               23          MR. PIFKO: Again, you're
    24 trying to influence the proceedings            24      coaching the witness.
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     1 improperly, made some objections about          1          MR. NICHOLAS: No, now I
     2 whether there even was such a list.             2     have to be this way because of
     3           Well, I've just handed you            3     what you did the last time with
     4 what's marked as Exhibit-15, a copy of          4     that stack of documents that was
     5 the list, which if you look at                  5     so inaccurate. Now I have no
     6 Exhibit-14, it says, Attachment                 6     choice.
     7 prescriber action weekly grid.                  7          MR PIFKO: You have no right
     8 Exhibit-15 is a printout of that grid.          8     to be this way. You're coaching
     9           MR. NICHOLAS: I object to             9     the witness. You've been doing it
    10      the form.                                 10     yesterday and today.
    11 BY MR. PIFKO:                                  11          MR. NICHOLAS: No, I --
    12      Q. It's Bates labeled --                  12          MR. PIFKO: All day long.
    13           MR. NICHOLAS: I object to            13          MR. NICHOLAS: -- really
    14      the characterization.                     14     haven't.
    15 BY MR PIFKO:                                   15          MR PIFKO: Yes, you have.
    16      Q. -- ABDCMDL 00002239.                   16          MR. NICHOLAS: No, I
    17           MR. NICHOLAS: What's your            17     haven't.
    18      question?                                 18          THE WITNESS: So I have this
    19 BY MR PIFKO:                                   19     list in front of me. I don't
    20      Q. Take your time to review the           20     recognize this list. I see there
    21 document, sir.                                 21     was an attachment on the e-mail
    22           MR. NICHOLAS: So we don't            22     sent to me. I don't recall
    23      have a repetition of what happened        23     specifically opening the
    24      last time, in case anyone asks the        24     attachment, but I don't recall not
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     1     opening the attachment.
     2         MR PIFKO: Clearly, your
     3     counsel has influenced your
     4     testimony. And that is wholly
     5     inappropriate.
     6         Move to strike that
     7     response.
     8 BY MR. PIFKO:
     9     Q. You talk --
    10         MR. NICHOLAS: Object to the
    11     form.
    12 BY MR PIFKO:
    13     Q. You talk, in the --
    14         MR. NICHOLAS: Object to the
    15     form.
    16 BY MR PIFKO:
    17     Q. -- in Exhibit-14 about, We
    18 could add this to our due diligence list
    19 on the S drive.
    20         Do you see that?
    21     A. I do.




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                                                  1       MR PIFKO: Stop.
                                                  2       MR. NICHOLAS: You said you
                                                  3   wanted --
                                                  4       MR. PIFKO: I asked him if
                                                  5   there was anything he wanted to
                                                  6   do, and now you're trying to tell
                                                  7   him what to do. Stop.
                                                  8       MR. NICHOLAS: You said you
                                                  9   wanted to correct the record.
                                                 10       MR. PIFKO: I asked him -- I
                                                 11   gave him a full opportunity.
                                                 12       MR. NICHOLAS: You said you
                                                 13   wanted to correct it.
                                                 14       MR. PIFKO: I'm moving on.
                                                 15       MR. NICHOLAS: Do you want
                                                 16   to correct it or not? Ask him to
                                                 17   hold them both up.
                                                 18       MR PIFKO: You're coaching
                                                 19   him. No.
                                                 20       MR. NICHOLAS: I'm not
                                                 21   coaching him. I'm asking him to
                                                 22   hold -- you asked him to hold up
                                                 23   something and I'm asking him to
                                                 24   hold up something.
                                      Page 323                                     Page 325
                                                  1       MR PIFKO: You need to stop
                                                  2   talking. Seriously, we're going
                                                  3   to go to court on you.
                                                  4       MR. NICHOLAS: If we go to
                                                  5   court on this, that's probably
                                                  6   something you want to do.
                                                  7       MR. PIFKO: I feel fine.
                                                  8   I've done nothing wrong.
                                                  9       MR. NICHOLAS: Doubt it.
                                                 10          - - -
                                                 11       (Whereupon,
    12 BY MR PIFKO:                              12   AmerisourceBergen-May Exhibit-19,
    13    Q. Okay. Thank you.                    13   ABDCMDL 00159841, was marked for
    14        MR. NICHOLAS: Can you ask          14   identification.)
    15    him to hold that list up in            15         - - -
    16    contrast to the one --                 16       MR PIFKO: I want to make
    17        MR. PIFKO: I'm not going to        17   one other comment about that
    18    ask him --                             18   document. It also had hidden tabs
    19        MR. NICHOLAS: -- you               19   that our review team had to --
    20    mistakenly held up.                    20   hidden columns in the spreadsheet
    21        MR PIFKO: You're trying to         21   that our review team had to
    22    testify for him, stop.                 22   unhide.
    23        MR. NICHOLAS: No, you said         23       So your production of the
    24    you wanted --                          24   document was not a fair production
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                                                                             Review
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     1      that allowed us to review it in a         1
                                                   presentation?
     2      proper way.                          2      A. I do generally recall.
     3          MR. MAHADY: It was produced      3      Q. I want to direct your
     4      in a native format.                  4 attention to Page 4, which is also Slide
     5          MR. NICHOLAS: It was             5 4.
     6      produced --                          6      A. Yes.
     7 BY MR. PIFKO:                             7      Q. Can you tell me what this
     8      Q. I'm handing you --                8 slide reflects?
     9          MR. NICHOLAS: -- the way it      9      A. Again, this was an effort by
    10      was supposed to be produced, which  10 me to sensitize the compliance managers
    11      was in native format.               11 to certain data relative to the opioid
    12 BY MR PIFKO:                             12 problem.
    13      Q. I've handed you what has         13      Q. Why did you want to
    14 been marked as Exhibit-19. It's a        14 sensitize them to this data?
    15 PowerPoint presentation marked ABDCMDL 15        A. General awareness training
    16 00159841. I'll represent to you that the 16 for diversion.
    17 metadata from that document states that  17      Q. Why would you want to make
    18 you are the custodian. It's a file       18 them aware of this information?
    19 called CSRA Diversion Control General    19          MR. NICHOLAS: Object to the
    20 Awareness Training, Draft. And the       20      form. Asked and answered.
    21 document is dated April 20th, 2016.      21          THE WITNESS: Again, it was
    22          Please review that and let      22      a diverse group of people, and I'm
    23 me know when you're done.                23      not sure of everyone's level of
    24      A. Okay.                            24      knowledge relative to some of the
                                          Page 327                                           Page 329
     1      Q. Have you seen this document            1      issue, in a very general way.
     2 before?                                        2           So it's just my attempt to
     3      A. Yes.                                   3      provide information, share
     4      Q. This is a presentation that            4      information and educate and inform
     5 you made?                                      5      people.
     6      A. Yes.                                   6 BY MR PIFKO:
     7      Q. What was this for?                     7      Q. As the head of the diversion
     8      A. To the best of my                      8 control division, you wanted other people
     9 recollection, this was to our compliance       9 in the company to be aware of the
    10 managers during our annual training           10 diversion and prescription drug abuse
    11 process for compliance managers. And we       11 statistics that are provided here --
    12 held this training conference at our          12           MR. NICHOLAS: Objection.
    13 corporate headquarters.                       13 BY MR. PIFKO:
    14      Q. And this is -- do you agree           14      Q. -- is that correct?
    15 that this presentation was made in April      15           MR. NICHOLAS: Object to the
    16 2016, as it states here?                      16      form of that question.
    17      A. Correct.                              17           THE WITNESS: Again, my
    18          I guess the only caveat here         18      response is the entire
    19 is, you mentioned that it said draft.         19      presentation was intended to --
    20 There may have been a final copy of this.     20      again, General Awareness was the
    21 But, generally, that would represent          21      title.
    22 here, in draft form, at least, what I         22           And not knowing everyone's
    23 presented.                                    23      level of information relative to
    24      Q. Do you recall making this             24      diversion control, and even some
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                                                                             Review
                                          Page 330                                           Page 332
     1      of the things that we do in the           1     here as part of the training
     2      diversion control team versus             2     program.
     3      maybe some of their                       3 BY MR PIFKO:
     4      responsibilities at the                   4     Q. What did you want people to
     5      distribution center, it's an              5 see when you -- by putting this in here?
     6      effort to educate and inform              6 What were you trying to communicate?
     7      everybody.                                7          MR. NICHOLAS: Object to the
     8 BY MR PIFKO:                                   8     form. You just read it.
     9      Q. What does this timeline                9          THE WITNESS: The timeline
    10 reflect on this slide?                        10     represents certain information
    11          MR. NICHOLAS: Object to the          11     relative to the opioid
    12      form.                                    12     prescribing, with dates associated
    13 BY MR PIFKO:                                  13     with it.
    14      Q. While you're reviewing it,            14          And, again, other than it
    15 on the left of the timeline, it says,         15     offering background and a timeline
    16 1983, Vicodin becomes available as a          16     and information relative to dates,
    17 generic.                                      17     it was intended to be educational.
    18          1986, published paper                18     That was my intent.
    19 concludes that opioid pain killers could      19 BY MR PIFKO:
    20 be prescribed safely on a long-term           20     Q. Is it intended to educate
    21 basis.                                        21 people about the relevant milestones with
    22          1995, OxyContin receives             22 respect to the opioid crisis, agree?
    23 approval from FDA. American Pain Society      23          MR. NICHOLAS: Objection to
    24 introduces a campaign entitled, quote,        24     the form of the question.
                                          Page 331                                           Page 333
     1 Pain is the Fifth Vital Sign, end quote.       1           THE WITNESS: And, again,
     2           1996, Purdue Pharma begins           2      going back to my related response,
     3 multiyear educational programs promoting       3      all of this was intended to be
     4 long-term use of opioid pain killers.          4      general training and information
     5           2000s, physicians expand             5      purposes for our compliance
     6 their treatment of pain through use of         6      managers around the issue of
     7 the growing number of approved                 7      opioids.
     8 prescription opioids. Prescription pain        8 BY MR PIFKO:
     9 killers flood the market.                      9      Q. Right. And this timeline --
    10           2014, four times annual             10 by showing this timeline, you were
    11 increase in prescriptions from 1999 to        11 intending to educate people of the
    12 2014. Five times annual increase in           12 relevant milestones with respect to the
    13 overdose deaths related to opioids.           13 opioid crisis; is that correct?
    14           Did I read that correctly?          14           MR. NICHOLAS: Object to the
    15      A. You did.                              15      form of the question. Asked and
    16      Q. What is this timeline                 16      answered at least twice.
    17 intended to reflect?                          17           THE WITNESS: Again, it
    18           MR. NICHOLAS: Object to the         18      was -- I had no specific goal
    19      form. You just read it.                  19      relative to the content or the
    20           THE WITNESS: So this                20      dates. It was part of general
    21      timeline -- I can't tell you the         21      awareness training, sharing that
    22      source. I acquired it from               22      information that I saw, as well as
    23      somewhere, some sort of public           23      all this other information as part
    24      document. And I inserted it in           24      of the general awareness training.
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     1          I did not have a specific             1      Q.    What's reflected here?
     2      objective in mind with sharing            2          MR. NICHOLAS: Object to the
     3      this particular part of the                3     form.
     4      training, beyond my general                4         THE WITNESS: I would rely
     5      awareness and education intent.            5     upon the description here. Again,
     6 BY MR PIFKO:                                    6     this was -- this was content,
     7      Q. Let's go to the next page,              7     public content, that I took from
     8 Page 5.                                         8     somewhere and put it on this
     9          This slide says, Causes,               9     slide.
    10 with a subheading, Driving factors behind      10         I see 2016 PDMP report on
    11 diversion and prescription drug abuse.         11     the bottom. I'm not sure why it
    12          Can you tell me what's                12     would say that if they're talking
    13 reflected here?                                13     about -- if it purports to be
    14      A. Again, information that I've           14     national rates. I'm not sure,
    15 gathered through my own experience and         15     quite frankly.
    16 exposure to various data and stories and       16         I would rely upon what's on
    17 content. I put together this general           17     there as --
    18 PowerPoint bullet/slide.                       18 BY MR PIFKO:
    19      Q. And it's your view that                19     Q. This chart shows sales of
    20 these are driving factors behind               20 opioids -- what does it show, do you
    21 diversion and prescription drug abuse; is      21 know?
    22 that correct?                                  22         MR. NICHOLAS: Object to the
    23          MR. NICHOLAS: Object to the           23     form. And I'll object to the
    24      form.                                     24     scope of this line of questioning
                                           Page 335                                         Page 337
     1          THE WITNESS: These are some           1      in general.
     2     of the factors behind diversion            2           THE WITNESS: Again, I'm
     3     and prescription drug abuse.                3     just looking at the title,
     4 BY MR PIFKO:                                    4     Prescription Painkiller Sales and
     5     Q. You don't have any actions               5     Age-Adjusted Rates For Drug
     6 committed by distributors here; is that         6     Poisoning Tests By Type of Drug.
     7 correct?                                        7          But it doesn't really give
     8          MR. NICHOLAS: Object to the            8     you by type of drug, other than
     9     form.                                       9     saying opioid analgesics versus
    10          But go ahead.                         10     heroin deaths, and then sales.
    11          THE WITNESS: I do not.                11          So, again, it's a little bit
    12 BY MR PIFKO:                                   12     hard to decipher at this point. I
    13     Q. Let's go to the next slide.             13     probably, at the time of the
    14          It says, Trends, diversion            14     presentation, was more familiar
    15 and substance abuse statistics.                15     with where it was derived from and
    16          Do you see that?                      16     could speak to it. But at this
    17     A. I do.                                   17     point --
    18     Q. And then it's got a chart,              18 BY MR PIFKO:
    19 Prescription painkiller sales and              19     Q. Let's go to the next page,
    20 age-adjusted rates for drug poisoning          20 Slide 7.
    21 deaths by drug -- by type of drug, United      21          The slide says, What is
    22 States, 2000 to 2014.                          22 diversion control.
    23          Do you see that?                      23          Correct?
    24     A. I do.                                   24     A. Yes.
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                                           Page 338                                         Page 340
     1      Q. And the speaker notes on the           1       Q. Do you agree with that
     2 bottom, it says, So what is diversion?         2  statement?
     3 In my own words, diversion is any               3          MR. NICHOLAS: Object to the
     4 activity, including negligence, which           4      form.
     5 results in a prescription drug being            5          THE WITNESS: I agree to
     6 removed from its intended, legitimate           6      that statement at that time and,
     7 medical use. Diversion can take place           7      presumably, I did the -- my own
     8 anywhere along the closed system path,          8      due diligence before I included a
     9 from manufacturer, to distributor,              9      statement like that at that time.
    10 prescriber, dispenser and end user.            10 BY MR PIFKO:
    11           Do you see that?                     11      Q. The speaker notes below say,
    12      A. I do.                                  12 And what's being diverted? The biggest
    13      Q. Do you agree with that?                13 threat for diversion continues to be
    14           MR. NICHOLAS: Object to the          14 opioids. Unfortunately, these drugs have
    15      form.                                     15 very addictive qualities. So it happens
    16           THE WITNESS: Again --                16 frequently that you will see someone who
    17           MR. NICHOLAS: Object to the          17 was prescribed hydrocodone following an
    18      scope as well.                            18 injury or medical intervention for
    19           Go ahead.                            19 legitimate medical purposes, but then
    20           THE WITNESS: I do agree              20 continues to abuse and abuse the drug --
    21      with it, in terms of it -- of the         21 use and abuse the drug long after the
    22      definition.                               22 legitimate medical need has passed.
    23           But I do want to point out           23          Do you see that?
    24      it's in my own words. You know,           24      A. Yes.
                                           Page 339                                         Page 341
     1      words, it should be. It says "in          1       Q. Did I read that correctly?
     2      my own works" there, but it's my          2       A. Yes. I used that more than
     3      own words.                                 3 once, that example.
     4          So this was my, kind of                4      Q. I was going to say, we saw
     5      off-the-top-of-my-head definition.         5 that in another one of your presentations
     6 BY MR PIFKO:                                    6 earlier, right?
     7      Q. But you believe this to be              7      A. Yes.
     8 true?                                           8      Q. And you agree with that
     9          MR. NICHOLAS: Object to the            9 statement?
    10      form. Object to the scope. Asked          10           MR. NICHOLAS: Object to the
    11      and answered.                             11      form.
    12          THE WITNESS: I generally              12           THE WITNESS: I generally
    13      believe this to be true, yes.             13      agree that could be one example of
    14 BY MR PIFKO:                                   14      how abuse could take place.
    15      Q. Let's go to the next page.             15              - - -
    16          The heading of the slide is,          16           (Whereupon,
    17 Commonly Diverted Drugs.                       17      AmerisourceBergen-May Exhibit-20,
    18          Do you see that?                      18      ABDCMDL 00142341-345, was marked
    19      A. I do.                                  19      for identification.)
    20      Q. And it says, Misuse of pain            20             - - -
    21 killers represents three-quarters of           21 BY MR PIFKO:
    22 overall prescription drug abuse.               22      Q. I'm handing you what is
    23          Do you see that?                      23 marked as Exhibit-20.
    24      A. I do.                                  24           Take a moment to review that
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     1 and let me know when you're done.               1       A. I do.
     2         For the record, Exhibit-20              2       Q. Do you have an understanding
     3 is Bates labeled ABDCMDL 00142341 through       3 about what's being discussed there?
     4 2345.                                           4            MR. NICHOLAS: Objection for
     5         MR. NICHOLAS: I'm going to              5       the reasons I stated in my prior
     6     interpose an objection to the               6       objection.
     7     questioning on this document on             7            THE WITNESS: So I'm happy
     8     two grounds, before we proceed.             8       to talk about this a little bit.
     9         The first is that it appears            9       It's always a little bit difficult
    10     to pertain to a pharmacy and               10       when addressing specific
    11     information that is not contained          11       customers. But I think I can talk
    12     in the Track 1 jurisdictions. It           12       a little bit about the theme here.
    13     looks like it's a Pennsylvania             13 BY MR PIFKO:
    14     situation.                                 14       Q. And that's what I'm trying
    15         And, secondly, which takes             15 to get at.
    16     us out of his, I believe, the              16       A. And so, I guess, to this
    17     30(b)(6) testimony. And to the             17 commentary here, one of the challenges
    18     extent you're asking him                   18 that we face, as a wholesale distributor,
    19     individual questions, he's not on          19 is the lack of visibility, in terms of
    20     large portions of this document.           20 customers who are utilizing two, three,
    21     He's not copied on large portions          21 four different distributors.
    22     of this document.                          22            And there are times when we
    23         So for those two reasons, I            23 can see, simply from the data, and
    24     object to the use of the document.         24 it's -- again, I'm going to speak

                                           Page 343                                           Page 345
     1 BY MR. PIFKO:                                   1 generally here, because you can't even
     2     Q. Are you done reviewing it?               2 read the volumes on this first page. But
     3     A. Yes, yes.                                3 simply from the data, it becomes clear
     4     Q. Do you know what this                    4 that the customer is using us for the
     5 document is?                                    5 purchase of controls versus their total
     6     A. It's an e-mail string.                   6 purchasing, which may be a perfectly
     7     Q. I just wanted to ask you a               7 legitimate reason by the pharmacy. If
     8 simple question about this document.            8 I'm an independent pharmacist and I can
     9         If you'd go to the second               9 buy and shop among three or four
    10 page, ABDCMDL 00142342.                        10 distributors and get controls at certain
    11         Are you there?                         11 prices, then they're going to do that.
    12     A. Yes.                                    12 That's perfectly legitimate.
    13     Q. About a third of the way                13          Sometimes it's not
    14 down, there's an e-mail from Eric              14 legitimate. Sometimes we're being used
    15 Cherveny, dated January 17th, 2017, at         15 to supplement other purchasing where a
    16 6:02 p.m.                                      16 pharmacy may have a distributor that is
    17         Do you see that?                       17 holding them to certain levels.
    18     A. Yes.                                    18          And so that's a general
    19     Q. He says, I don't see the                19 challenge that we face as a wholesale
    20 need to order a dispensing report here         20 distributor. And so what is the -- how
    21 due to their extreme low volume and high       21 do we handle those situations? And,
    22 controls. They're clearly using us as          22 again, in speaking generally, when the
    23 secondary for controls.                        23 data is very apparent that the customer
    24         Do you see that?                       24 is using us just to purchase controls,


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     1 well, we may just make the decision, hey,       1      a case-by-case basis, not knowing
     2 you know, we're not going to assume all         2      the complete context there.
     3 that risk, even though you may have a           3          And when the data is evident
     4 legitimate reason for doing so, it              4      to us that it's a secondary
     5 doesn't make sense for us to assume all         5      situation and there's risk
     6 that risk. So you know what, we're just         6      involved relative to the
     7 going to terminate the relationship with        7      customer's activity, we may make
     8 you.                                            8      the decision we're not even going
     9           And we would just send them           9      to pursue the relationship any
    10 a letter to say that, you know -- and we       10      longer, for the sheer fact that
    11 would provide them that reason, that           11      there's risk involved with the
    12 we're not going to assume risk on a            12      customer. And we would make that
    13 secondary basis here.                          13      decision.
    14           And so that's a general              14          I'm not sure that that
    15 theme. And without seeing, before and          15      ultimately was the case here.
    16 after, what occurred here, that's my           16      That's --
    17 general theme explanation.                     17 BY MR PIFKO:
    18      Q. That's helpful. Thank you.             18      Q. We can put that aside.
    19 That's what I was getting at.                  19          When you talk about that
    20           So I understand a little bit         20 risk, what do you mean? What kind of
    21 more, when you talk about this risk, I         21 risk do you mean?
    22 completely understand that you don't know      22          MR. NICHOLAS: Object to the
    23 for sure what the reason is, there could       23      form. And scope.
    24 be a legitimate reason.                        24          THE WITNESS: So the data,
                                           Page 347                                           Page 349
     1           But the risk is that there's          1      in and of itself, presents a red
     2 a potential illegitimate reason that            2      flag. Because you have a
     3 maybe they're -- someone else had a             3      customer, like in this case, has a
     4 threshold for them and they've gotten to        4      high percentage of controls.
     5 it, and they're coming to you to get            5      That's risk. And that -- because
     6 more.                                           6      of that risk, we may make that
     7           And that's the concern that           7      decision.
     8 potentially that could be happening; is         8 BY MR PIFKO:
     9 that correct?                                   9      Q. When you say "red flag,"
    10           MR. NICHOLAS: Object to the          10 that's a red flag for diversion, like we
    11       form.                                    11 saw in the presentation?
    12           THE WITNESS: Yes. There is           12           MR. NICHOLAS: Object to the
    13       a concern that they could be             13      form.
    14       getting controls from multiple           14           THE WITNESS: There are
    15       sources.                                 15      several red flags that we monitor
    16 BY MR PIFKO:                                   16      for, that we investigate. I don't
    17       Q. And as of 2017, when this             17      believe I said for diversion, I
    18 e-mail was written, that's not a risk          18      believe I said there's just red
    19 that the company wanted to take on, like       19      flags relative to their ordering
    20 you said?                                      20      activity that we investigate, if I
    21           MR. NICHOLAS: Object to the          21      recall correctly.
    22       form.                                    22 BY MR PIFKO:
    23           THE WITNESS: Again, we               23      Q. But I was just trying to
    24       handle these similar scenarios on        24 understand, is a red flag indicia of what


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     1 something that gives rise -- your             1 what you need to look at this.
     2 division is diversion control?                2          MR. NICHOLAS: What are you
     3         MR. NICHOLAS: Hold on. Is             3     asking him?
     4     that a question? It isn't a               4          MR PIFKO: I'll get there.
     5     question yet.                             5          THE WITNESS: Okay. I have
     6 BY MR PIFKO:                                  6     12 and I have 13.
                                                     7 BY MR PIFKO:
                                                     8     Q. And I want you to have 16,
                                                     9 18 and 17 in front of you as well.
                                                    10     A. 16, 18, and 17, okay.
                                                    11 Things aren't very well organized over
                                                    12 here, so.
                                                    13     Q. Same on my side.
                                                    14          MR. NICHOLAS: Is that what
                                                    15     you want, 16, 17, 18 and 13?
                                                    16          MR PIFKO: He needs to look
                                                    17     at the official copies.
                                                    18          MR. NICHOLAS: Then he has
                                                    19     to find them. It's these. 16,
                                                    20     17, 18, 13.
                                                    21          THE WITNESS: So do I have
                                                    22     them all together, then?
    23         MR PIFKO: We can take a              23          So I have 12, 13, 16, 17 and
    24     break.                                   24     18.
                                         Page 351                                            Page 353
     1          VIDEO TECHNICIAN: Going off          1 BY MR PIFKO:
     2      the record. 4:35 p.m.                    2      Q. Do you have -- it looks
     3             - - -                             3 like, in front of you, you just have two
     4          (Whereupon, a brief recess           4 documents.
     5      was taken.)                              5           You've got to use your
     6            - - -                              6 copies. You've got to use the official
     7          VIDEO TECHNICIAN: We're              7 exhibits.
     8      back on record at 4:48 p.m.              8      A. I don't have them.
     9 BY MR PIFKO:                                  9      Q. They've got to be there
    10      Q. Can you get Exhibits-16 and          10 somewhere. They're not those. So you
    11 18 and 17 and 13 in front of you again?      11 can put them -- I'm not talking about --
    12             - - -                            12 maybe they're in that stack there.
    13          (Whereupon, a discussion off        13      A. No, I went through this
    14      the record occurred.)                   14 already.
    15             - - -                            15           MR. NICHOLAS: I don't care
    16 BY MR. PIFKO:                                16      if he uses these.
    17      Q. Specifically, I want you to          17           MR PIFKO: It's concerning
    18 look at 13.                                  18      to me that -- there they are.
    19          Can you tell me what 13 is?         19      They are in front of you, Bob.
    20 And you can refer, remember, this is an      20      Stolen exhibits.
    21 attachment to Exhibit-12, if you want to     21              - - -
    22 look at the one-page e-mail.                 22           (Whereupon, a discussion off
    23          So there's a lot of numbers         23      the record occurred.)
    24 in front of you. Take your time to get       24             - - -
   Golkow Litigation Services                                        Page: 89 (350 - 353)
Case:Highley
      1:17-md-02804-DAP Doc #:-1964-90
               Confidential     SubjectFiled:
                                           to 07/23/19
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Case:Highley
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                                                                             Review
                                       Page 358                                           Page 360
                                                   1     concluded at 4:57 p.m.)
                                                   2           - - -
                                                   3
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                                       Page 359                                           Page 361
                                                   1          CERTIFICATE
     2                                             2
              MR PIFKO: I don't know if
     3                                             3
          AmerisourceBergen's counsel has
     4                                             4         I HEREBY CERTIFY that the
          any questions for you, but if they
                                                   5 witness was duly sworn by me and that the
     5    do, I may have some additional           6 deposition is a true record of the
     6    questions for you.                       7 testimony given by the witness.
     7        And if additional documents          8
     8    may be produced in this case, I          9
     9    may seek to call you back, at           10
    10    which time I would confer with                 Amanda Maslynsky-Miller
    11    AmerisourceBergen's counsel.            11     Certified Realtime Reporter
    12        Subject to that, I don't                   Dated: August 7, 2018
    13    have any further questions of you       12
    14                                            13
          at this time.
    15                                            14
              MR. NICHOLAS: I have no
    16                                            15
          questions at this time. Thank
                                                  16
    17    you.                                    17           (The foregoing certification
    18        Thank you, Mr. May.                 18 of this transcript does not apply to any
    19        VIDEO TECHNICIAN: This ends         19 reproduction of the same by any means,
    20    today's deposition. We're going         20 unless under the direct control and/or
    21    off the record. The time is 4:57        21 supervision of the certifying reporter.)
    22    p.m.                                    22
    23           - - -                            23
    24        (Whereupon, the deposition          24


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                                                                             Review
                                           Page 362                                                 Page 364
     1      INSTRUCTIONS TO WITNESS                    1      ACKNOWLEDGMENT OF DEPONENT
                                                       2
     2
                                                                 I,_____________________, do
     3          Please read your deposition            3 hereby certify that I have read the
     4 over carefully and make any necessary             foregoing pages, 1 - 360, and that the
                                                       4 same is a correct transcription of the
     5 corrections. You should state the reason
                                                         answers given by me to the questions
     6 in the appropriate space on the errata          5 therein propounded, except for the
     7 sheet for any corrections that are made.          corrections or changes in form or
                                                       6 substance, if any, noted in the attached
     8          After doing so, please sign              Errata Sheet.
     9 the errata sheet and date it.                   7

    10
                                                       8   _______________________________________
                You are signing same subject               DAVID MAY           DATE
    11 to the changes you have noted on the            9
                                                      10
    12 errata sheet, which will be attached to
                                                           Subscribed and sworn
    13 your deposition.                               11   to before me this
    14          It is imperative that you                  _____ day of ______________, 20____.
                                                      12
    15 return the original errata sheet to the
                                                           My commission expires:______________
    16 deposing attorney within thirty (30) days      13

    17 of receipt of the deposition transcript
                                                      14   ____________________________________
                                                           Notary Public
    18 by you. If you fail to do so, the              15
                                                      16
    19 deposition transcript may be deemed to be
                                                      17
    20 accurate and may be used in court.             18
    21                                                19
                                                      20
    22                                                21
    23                                                22
                                                      23
    24
                                                      24

                                           Page 363                                                 Page 365
     1        - - - - - -                              1       LAWYER'S NOTES
               ERRATA                                  2 PAGE LINE
     2        - - - - - -                              3 ____ ____ ____________________________
     3                                                 4 ____ ____ ____________________________
     4 PAGE LINE CHANGE                                5 ____ ____ ____________________________
     5 ____ ____ ____________________________          6 ____ ____ ____________________________
     6   REASON: ____________________________          7 ____ ____ ____________________________
     7 ____ ____ ____________________________          8 ____ ____ ____________________________
     8   REASON: ____________________________          9 ____ ____ ____________________________
     9 ____ ____ ____________________________
                                                      10 ____ ____ ____________________________
    10   REASON: ____________________________         11 ____ ____ ____________________________
    11 ____ ____ ____________________________
                                                      12 ____ ____ ____________________________
    12   REASON: ____________________________         13 ____ ____ ____________________________
    13 ____ ____ ____________________________
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    14   REASON: ____________________________         15 ____ ____ ____________________________
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    18   REASON: ____________________________
    19 ____ ____ ____________________________         19 ____ ____ ____________________________
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    20   REASON: ____________________________
    21 ____ ____ ____________________________         21 ____ ____ ____________________________
                                                      22 ____ ____ ____________________________
    22   REASON: ____________________________
    23 ____ ____ ____________________________         23 ____ ____ ____________________________
    24   REASON: ____________________________         24 ____ ____ ____________________________


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